                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

JAMIE LEONARD,                              )
                                            )
           Mr. Leonard,                     )
                                            )
v.                                          )         Case No. 4:19-cv-00927-MTS
                                            )
ST. CHARLES COUNTY, STEVEN                  )
HARRIS, DONTE FISHER, LISA                  )
BAKER, and THERESA MARTIN,                  )
                                            )
           Defendants.                      )



           STATEMENT OF UNCONTROVERTED MATERIAL FACTS
                           IN SUPPORT OF
            MR. LEONARD’S MOTION FOR SUMMARY JUDGMENT




     Thomas R. Applewhite, #64437MO             Gary K. Burger, #32460MO
     Steven A. Donner, #63789MO                 BURGER LAW, LLC
     DONNER APPLEWHITE                          500 N. Broadway, Suite 1860
     906 Olive Street, Suite 1110               St. Louis, Missouri 63102
     St. Louis, Missouri 63101                  Phone: (314) 542-2222
     Phone: (314) 293-3526                      Facsimile: (314) 542-2229
     Facsimile: (888) 785-4461                  Email: gary@burgerlaw.com
     Email: tom.applewhite@da-lawfirm.com
     Email: steve.donner@da-lawfirm.com         CO-COUNSEL FOR MR. LEONARD

     CO-COUNSEL FOR MR. LEONARD
                                TABLE OF CONTENTS

   I.   BACKGROUND                                  1

  II.   MEDICAL INTAKE                              1

 III.   FAILURE TO RESPOND TO MEDICAL NEEDS         5

 IV.    EXCESSIVE FORCE WITH PEPPER SPRAY           11

  V.    LACK OF CARE AFTER PEPPER SPRAY             20

 VI.    FAILURE TO INVESTIGATE AND DISCIPLINE       33

VII.    POLICY AND TRAINING DEFICIENCIES            38

VIII.   SELECTED EXPERT FINDINGS                    48




                                            ii
                         SUMMARY JUDGMENT EXHIBITS LIST AS OF APRIL 30, 2021
                                       Jamie Leonard v. St. Charles County, et al.
                                          Case Number: 4:19-cv-00927-MTS
                                            Honorable Matthew T. Schelp
                   Plaintiff's Attorneys: Thomas R. Applewhite, Steven A. Donner, Gary K. Burger
                                Defendants' Attorneys: Drew A. Heffner, Bryan E. Wise
                             PLAINTIFF'S EXHIBITS
EXH #                     DESCRIPTION OF EXHIBIT                                             ORIGIN
  1     Declaration of Jamie Leonard                                                 Plaintiff Jamie Leonard
  2     Deposition Transcript Selections of Dr. Kumar Rao                                   Deposition
  3     Deposition Transcript Selections of Dr. Linda Hunt                                  Deposition
  4     SCCDOC Record of Arrest Form                                                  Defendants' Bates 955
  5     Selections from "SCCDOC Initial Health Care Screening"                    Defendants’ Bates 960 and 963
  6     Report of Ken Katsaris                                                            Expert Report
  7     Deposition Transcript Selections of Lisa Baker                                      Deposition
  8     Deposition Transcript Selections of Director Daniel Keen                            Deposition
  9     Declaration of Michelle Manoli                                                   Michelle Manoli
 10     Selections from "SCCDOC Inmate Health Progress Notes"                     Defendants' Bates 280, 957-958
 11     Deposition Transcript Selections of Dr. Susan Lawrence                              Deposition
 12     Deposition Transcript Selections of Debbie Echele                              Designee Deposition
 13     Deposition Transcript Selections of Theresa Martin                                  Deposition
 14     Deposition Transcript Selections of Shanicia Rogers                            Designee Deposition
 15     Deposition Transcript Selections of James Baumgartner                          Designee Deposition
        Selections from Standards for Medical Health Services in
 16                                                                                          NCCHC
        Correctional Facilities
  17    Deposition Transcript Selections of Katie Garofalo                                   Deposition
  18    SCCDOC Selected Shift Supervisor Reports                                  Defendants' Bates 283 and 408
  19    SCCDOC Selected Use of Force Reviews                                        Defendants' Bates 265-266
  20    SCCDOC Suicide Prevention Policy Selections                             Defendants' Bates 884, 887 and 889
  21    SCCDOC Selected Incident Reports                                    Defendants' Bates 13, 268, 271, 272 and 276
  22    Deposition Transcript Selections of Ken Katsaris                                     Deposition
  23    Report of Susan Lawrence, M.D.                                                    Expert Report
 24a    Deposition of Donte Fisher on 8/23/19                                                Deposition
 24b    Deposition of Donte Fisher on 2/11/20                                                Deposition
 25a    Deposition of Steven Harris on 8/23/19                                               Deposition
 25b    Deposition of Steven Harris on 2/5/20                                                Deposition
  26    Segregation Reports                                                         Defendants' Bates 969-970
  27    Selections from SCCDOC's Use of Force Policy                               Defendants' Bates 1226-1229
  28    Selections from SCCDOC's Use of O.C. Spray Policy                            Defendants' Bates 27-28
  29    Deposition Transcript Selections of Michael McKee                                    Deposition
  30    Deposition Transcript Selections of Donald Spiess                                    Deposition
  31    Deposition Transcript Selections of Vincent Vaughn                                   Deposition
                                                                             Defendants' Bates 300-302, 305, 307, 315-
 32     Selections from SCCDOC's Use of O.C. Spray Training                 318, 320, 322, 326, 333, 354-355, 357, 362,
                                                                                            376 and 377
        Video of Plaintiff Being Pepper Sprayed in the Suicide Prevention
 33a                                                                             Video from 7/22/17 at 645 Hours
        Unit
        Video of Plaintiff Gouging His Eye Out in the Suicide Prevention
 33b                                                                             Video from 7/22/17 at 733 Hours
        Unit
 34     Selections from TJA Use of Force - Corrections                                 Defendant - Pgs. 4-5
 35     Selection from Medical Emergency Plan                                         Defendants' Bates 854
        Email from Debbie Echele Thanking Everyone for "a job well
 36                                                                                   Defendants' Bates 415
        done" in handling Jamie Leonard's Situation
                                                                             Defendants' Bates 1506-1515, 1413-1417,
        Incidents of Excessive Force, a Disregard for Inmate Medical         1377, 1422, 1419, 1408, 1534-1544, 1458,
 37
        Needs, a Lack of Discipline and a Lack of Investigation              1418, 1497-1505, 1411-1412, 1516-1533,
                                                                                   1358-1376, 1421, 1378, 1420
 38     Expert Disclosures                               1                           Rule 26(a)(2) Disclosures
I.      BACKGROUND

        1.     Plaintiff, Jamie Leonard, is a licensed Real Estate Broker. See Exhibit 1 – Leonard

Decl., ¶ 4.

        2.     Mr. Leonard was diagnosed in 2015 with uveitis/iritis in his left eye which was

caused by Reiter’s syndrome. See Exhibit 2 – Rao Depo., 13:1-4, 17:15 to 18:8, 53:4-12; Exhibit

3 – Hunt Depo., 14:21 to 15:10, 21:24 to 22:12; Exhibit 1 – Leonard Decl., ¶ 6.

        3.     Reiter’s syndrome is a constellation of problems with arthritis and inflammation of

various parts of the body, and one part of the body that can be affected is the eye. See Exhibit 2 –

Rao Depo., 12:21-25; Exhibit 3 – Hunt Depo., 13:25 to 14:8, 21:24 to 22:25.

        4.     Mr. Leonard has had a long history of Reiter’s syndrome and started taking Simponi

intermittently since July 2012 and Sulfasalazine since June 2009. See Exhibit 1 – Leonard Decl.,

¶ 7.

        5.     Mr. Leonard’s doctors prescribed him narcotics (Norco) and Indocin for pain as

well as Xanax and Citalopram for anxiety. See Exhibit 1 – Leonard Decl., ¶ 8.

        6.     Mr. Leonard’s doctors also prescribed Suboxone as a medication to wean Mr.

Leonard off the pain narcotics that doctors prescribed to him. See Exhibit 1 – Leonard Decl., ¶ 9.

        7.     After Mr. Leonard experienced his first psychosis in 2016, he started receiving monthly

psychiatric care at ABC Healthcare. See Exhibit 1 – Leonard Decl., ¶ 14,15.

II.     MEDICAL INTAKE

        8.     On July 19, 2017, Mr. Leonard was taken into custody by the Wentzville Police

Department (hereinafter referred to as “Wentzville”). See Answer from 4/29/21, ¶ 15 (ECF No.

91).

        9.     On July 20, 2017, Mr. Leonard was transferred and booked into the St. Charles

County Department of Corrections (hereinafter, the “St. Charles DOC”) at 12:29 PM, and the St.
                                                 1
Charles DOC’s “Record of Arrest” form clearly indicated Mr. Leonard had “mental health

concerns” and/or was a “suicide risk.” See Answer from 4/29/21, ¶ 26 (ECF No. 91); Exhibit 4 –

Defendants’ Bates 955.

       10.     At the time of transfer, Mr. Leonard’s doctors prescribed him Indocin,

Sulfasalazine, and Simponi for Reiter’s disease, Risperdal, Citalopram, Ritalin, Vyvanse and

Suboxone for his psychiatric medications, including Celexa for my depression. See Exhibit 1 –

Leonard Decl., ¶ 17.

       11.     On July 20, 2017, St. Charles knew that Mr. Leonard had a mental health disorder,

was seeing a psychiatrist and had prescriptions for Citalopram and Risperidone. See Exhibit 5 –

Defendants’ Bates 960 and 963.

       12.     The St. Charles DOC was put on notice of Mr. Leonard’s need for observation from

the time of arrest and transfer. See Exhibit 6 – Katsaris Report, p. 10; Exhibit 8 – Director Keen

Depo., 50:13-16.

       13.     On July 20, 2017, Mr. Leonard’s mother, Michele Manoli (hereinafter, “Michele”),

contacted one or more of the medical staff employed by the St. Charles DOC (the medical staff at

the St. Charles DOC, hereinafter, “Medical”), advised that Mr. Leonard had an eye condition,

suffered from mental health issues and communicated Mr. Leonard’s specific diagnosis to St.

Charles’ medical staff. See Exhibit 7 – Baker Depo., 75:22 to 76:5, Answer from 4/29/21, ¶¶ 56

and 57 (ECF No. 91); Exhibit 8 – Director Keen Depo., 20:12-14; Exhibit 9 – Manoli Decl., ¶ 6.

       14.     Michele is a Registered Nurse for 31 years and has received training in trauma,

psychiatric, sexual assault and crisis intervention. See Exhibit 9 – Manoli Decl., ¶¶ 4 and 5.

       15.     At that time, Michele told Medical about Mr. Leonard’s very bizarre behaviors,

Reiter’s syndrome, Iritis/Uveitis, his prescribed multiple medications, which could be found by



                                                 2
contacting Schnuck’s Pharmacy. See Answer from 4/29/21 ¶ 58 (ECF No. 91); Exhibit 10 – Bates

957; Exhibit 9 – Manoli Decl., ¶ 7.

       16.     Medical instructed Michele to call back in the morning and bring Mr. Leonard’s

medication to the St. Charles DOC so that the medication could be reviewed by Medical. See

Answer from 4/29/21, ¶ 61 (ECF No. 91); Exhibit 9 – Manoli Decl., ¶ 8.

       17.     On the morning of July 21, 2017, Michele contacted a nursing supervisor and

explained that Mr. Leonard should have never been deemed fit for confinement due to his

extremely bizarre behavior. See Exhibit 9 – Manoli Decl., ¶ 9.

       18.     Around 3:00 PM on July 21, 2017, Michele went to drop off Mr. Leonard’s

medications, including his non-expired eye medication. See Exhibit 9 – Manoli Decl., ¶ 11.

       19.     Upon doing so, Michele again provided an abnormal amount of notice to the St.

Charles DOC as to what medications Mr. Leonard was taking, what pharmacy Mr. Leonard was

using, Schnuck’s, and who Mr. Leonard’s rheumatologist was, which gave St. Charles’ medical

staff, including Defendant Martin, the opportunity to give Mr. Leonard adequate medical attention.

See Answer from 4/29/21, ¶ 58 (ECF No. 91); Exhibit 10 – Bates 957; Exhibit 9 – Manoli Decl.,

¶ 13; Exhibit 11 – Lawrence Depo., 34:24 to 35:15, 97:23 to 98:05.

       20.     After Michele asked the nurse if she wanted her to explain how to administer the

medications to Mr. Leonard, the nurse responded, no. See Exhibit 9 – Manoli Decl., ¶¶ 14 and 15.

       21.     When Michele dropped off Mr. Leonard’s medication to Medical, the nurse who

received the medication in Medical neglected to document the date that the medication was

prescribed, expired, or picked up from the pharmacy. See Exhibit 12 – Echele Depo., 94:07-12;

Exhibit 13 – Martin Depo., 35:15-24; Answer from 4/29/21, ¶¶ 72 and 75 (ECF No. 91); Exhibit

9 – Manoli Decl., ¶ 18.



                                                3
       22.      The St. Charles DOC does not have any policy or procedures that provides guidance

on what to do when medical information is received from an inmate himself, from the inmate’s

family or requests made by the inmate’s family. See Exhibit 14 – Rogers Depo., 28:09 to 32:08;

Exhibit 15 – Baumgartner Depo., 24:14 to 25:23; 34:24 to 35:06.

       23.      In order to properly verify medications brought in by a family member, the

corrections facility should contact the appropriate pharmacy and the prescribing physician. See

Exhibit 16 – Standards for Medical Health Services, pp. 62 and 63; Exhibit 11 – Lawrence Depo.,

37:2-10.

       24.      Medical did not check with Schnucks Pharmacy regarding Mr. Leonard’s

medications. See Answer from 4/29/21, ¶ 68 (ECF No. 91); Exhibit 11 – Lawrence Depo., 35:16-

23.

       25.      Schnuck’s Pharmacy had the following prescriptions on file for Mr. Leonard:

prednisolone acetate 1% eye drops (filled on 6/23/17); citalopram (filled on 6/27/17); Durezol

0.05% eye drops (filled 7/5/17); and Simponi (filled on 7/8/17). See Answer from 4/29/21, ¶ 69

(ECF No. 91).

       26.      On July 5, 2017, Dr. Kumar Rao had changed Mr. Leonard’s prescriptions from

prednisolone to Durezol because the inflammation of Mr. Leonard’s eye was getting worse. See

Exhibit 1 – Leonard Decl., ¶ 10; Exhibit 2 – Rao Depo., 39:10-16, 39:23 to 40:3, 56:8-12.

       27.      No one from St. Charles County contacted Washington University or Dr. Rao to

verify whether Durezol should be given to Mr. Leonard. See Exhibit 2 – Rao Depo., 48:21 to 49:3.




                                                4
III.   FAILURE TO RESPOND TO MEDICAL NEEDS
       28.     The St. Charles DOC was deliberately indifferent to Mr. Leonard’s medical needs

when Medical knew about Mr. Leonard’s diagnosis but failed to prescribe Mr. Leonard

medications, including his eye medication for Reiter’s syndrome, and take appropriate precautions

to prevent injury to his eye. See Exhibit 11 – Lawrence Depo., 30:11 to 31:24, 34:19-24.

       29.     The medications delivered by Michele were not administered to Mr. Leonard by

Medical, nor did Medical administer any eye medication to Mr. Leonard when he was in custody.

See Answer from 4/29/21, ¶ 79 (ECF No. 91); Exhibit 12 – Echele Depo., 97:4-5.

       30.     Durezol, the medication that Mr. Leonard was prescribed by Dr. Rao, was supposed

to be put in his eye every two hours while awake, and not taking it would likely cause inflammation

in his eye to return. See Exhibit 1 – Leonard Decl., ¶ 11; Exhibit 2 – Rao Depo., 38:21 to 39:8.

       31.     Without the eye medication, Durezol, Mr. Leonard’s symptoms would increase,

such as blurriness, film over the eye, photophobia, light sensitivity, and seeing black stars and

worms as well as the eventual possibility of losing an eye. See Exhibit 1 – Leonard Decl., ¶ 12, 13;

Exhibit 2 – Rao Depo., 40:10-22.

       32.     Medical also did not administer any psychiatric medication to Mr. Leonard in July

2017, and Mr. Leonard was abruptly taken off his Suboxone by Medical. See Exhibit 12 – Echele

Depo., 83:21 to 84:4; Answer from 4/29/21, ¶¶ 29 and 80.

       33.     Acute psychosis can be developed and worsened by abruptly removing a patient

from Suboxone. See Exhibit 11 – Lawrence Depo., 27:6-15.

       34.     Acute untreated psychosis is a serious medical condition and means psychosis that

becomes dramatically worse over a very short period of time. See Exhibit 11 – Lawrence Depo.,

23:9-16, 26:23.



                                                 5
       35.    Mr. Leonard exhibited extremely bizarre and erratic behavior that indicated he had

some type of mental issue on the evening of July 21, 2017 and the morning of July 22, 2017 prior

to removing his eyeball from his eye socket on July 22, 2017. See Exhibit 13 – Martin Depo.,

36:14 to 37:22, 70:7-15; Exhibit 7 – Baker Depo., 40:21 to 41:2, 70:24-25; Exhibit 17 – Garofalo

Depo., 37:15; Exhibit 6 – Katsaris Report, p. 11; Exhibit 8 – Director Keen Depo., 64:1-23.

       36.    Less than 10 hours before Mr. Leonard removed his eye on July 22, 2017,

Defendant Martin observed that Mr. Leonard was not alert and oriented times three, was wide-

eyed, looked confused, and could not remember directions that were given to him 30 seconds

before. See Exhibit 13 – Martin Depo., 39:1-6; Answer from 4/29/21, ¶ 40; Exhibit 10 – Bates 958.

       37.    At 1:05 am on July 22, 2017, Mr. Leonard attempted to choke himself by putting

his hand down his throat due to his psychosis, at which point Medical was notified, and Defendant

Martin, a nurse, responded. See Answer from 5/29/20 and 6/1/20, ¶ 82 (ECF No. 54 and 55);

Exhibit 18 – Bates 283; Director Keen Depo., 8:3 and 5-6, 64:1-6 and 65:6-19; Katsaris Report,

pp. 9-10.

       38.    Defendant Martin observed that Mr. Leonard was yelling and blowing his nose so

hard that it was causing his nose to bleed. See Answer from 4/29/21, ¶¶ 35 and 36 (ECF No. 91);

Exhibit 18 – Bates 283.

       39.    When Defendant Martin asked Mr. Leonard why he was behaving this way, Mr.

Leonard stated: “I have to get my soul out because it is time for me to die.” See Answer from

4/29/21, ¶ 37 (ECF No. 91); Exhibit 10 – Defendants’ Bates 280.

       40.    Mr. Leonard further gave incredibly bizarre explanations and stated, “This is what

I am supposed to do.” See Exhibit 10 – Defendants’ Bates 280 and 958.




                                               6
       41.     Mr. Leonard told Defendant Martin that he “loved life and had everything to live

for” but he was “supposed to die.” See Exhibit 10 – Defendants’ Bates 280.

       42.     Only a couple of hours later, Mr. Leonard kept pacing around his cell and acted in

more self-harm by tugging on his genitals. See Exhibit 19 – Defendants’ Bates 265, 266.

       43.     The St. Charles DOC’s Suicide Prevention Policy states consultation with the on-

call Mental Health provider may be done at the discretion of the Medical Staff. See Exhibit 20 –

Bates 887.

       44.     Medical should have contacted a psychiatrist regarding Mr. Leonard’s condition or

using any medication including the sedative, Haldol. See Exhibit 8 – Director Keen Depo., 68:19

to 69:01, 70:4-10.

       45.     Even though Medical knew that Mr. Leonard was acting psychotically, no one in

Medical, asked for an order to get psychiatric medication or contacted a psychiatrist about Mr.

Leonard’s condition or any medication. See Exhibit 10 – Bates 280; Exhibit 13 – Martin Depo.,

52:1-16; Exhibit 12 – Echele Depo., 73:01 to 75:01.

       46.     Haldol was kept at the St. Charles Department of Corrections’ clinic and could have

been used had a psychiatrist been consulted by Defendant Martin or anyone else in Medical. See

Answer from 4/29/21, ¶ 46 (ECF No. 91); Exhibit 12 – Echele Depo., 73:20-22; Exhibit 8 –

Director Keen Depo., 69:14 to 70:10.

       47.     Haldol is very commonly used for people who are acutely psychotic and who are

in danger of harming themselves. See Exhibit 11 – Lawrence Depo., 29:19-24.

       48.     Haldol would have been appropriate to have administered to Mr. Leonard because

of his self-harming behavior as a result of his psychiatric illness, he expressed a desire to die, he




                                                 7
was not alert and oriented, he was wide eyed and confused, and he could not follow directions just

given to him a few minutes previously. See Exhibit 11 – Lawrence Depo., 55:5 to 55:22.

       49.     Mr. Leonard had done several things to harm himself by sticking his fingers in his

nose, causing a nosebleed that required packing, pulling his genitals and other self-harming

behaviors that could have been mitigated by providing Haldol early on in the process. See Exhibit

11 – Lawrence Depo., 29:24 to 30:5.

       50.     Had Medical contacted a psychiatrist and used Haldol, the outcome regarding Mr.

Leonard’s eye would have been different. See Exhibit 8 – Director Keen Depo., 68:18 to 69:3.

       51.     Haldol was effective on Mr. Leonard as shown by paramedics administering it to

Mr. Leonard and it effectively sedating him. See Exhibit 21 – Defendants’ Bates 276; Exhibit 11

– Lawrence Depo., 54:7 to 55:4.

       52.     Medical was deliberately indifferent to Mr. Leonard’s severe mental illness by: (a)

failing to obtain a psychiatric consultation for Mr. Leonard, (b) failing to contract the facility’s

psychiatrist who was on call, (c) not sending Mr. Leonard to a hospital where he could have been

seen by a psychiatrist, and (d) failing to provide psychiatric medication for Mr. Leonard. See

Exhibit 11 – Lawrence Depo., 24:13 to 25:19.

       53.     Defendant Martin and Medical Supervisor, Debbie Echele, jointly decided to

transfer Mr. Leonard to the suicide prevention unit in the very early morning hours of July 22,

2017. See Exhibit 13 – Martin Depo., 43:6-12; Answer from 4/29/21, ¶ 45 (ECF No. 91); Exhibit

18 – Bates 283; Exhibit 10 – Bates 280; Exhibit 22 – Katsaris Depo., 24:4-8.

       54.     The Mr. Leonard was noted as a suicide or self-harm risk, which is why he was

moved into the suicide prevention unit and placed on self-harm watch. See Exhibit 12 – Echele

Depo., 67:13 to 68:14; Exhibit 13 – Martin Depo., 24:21-25.



                                                 8
       55.     The St. Charles DOC’s Suicide Prevention Program Policy states that the suicide

prevention unit is a housing unit designated to hold individuals considered to be at considerable

risk for self-harm. See Exhibit 20 – Defendants’ Bates 884.

       56.     Indeed, most of the people who end up in Defendant’s jail have mental health

problem or a drug addiction problem. See Exhibit 8 – Director Keen Depo., 51:24 to 52:3.

       57.     The St. Charles DOC’s Suicide Prevention Program Policy states that suicide

prevention units are to be operated in a manner so as to provide a greatly increased element of

safety, by incorporating a combination of reduced stress, enhanced mental health counseling, close

observation by staff, and a significantly reduced level of potential environmental hazards. See

Exhibit 20 – Defendants’ Bates 884.

       58.     The St. Charles DOC’s policy for “close observation” under the suicide prevention

program is for those inmates who are potentially suicidal and is done to prevent the inmate hurting

him or herself. See Exhibit 14 – Rogers Depo., 34:13 to 38:03; Exhibit 12 – Echele’s Depo., 21:06

to 24:17.

       59.     The St. Charles DOC’s policy for “close observation” requires that close

observation inmates are monitored by suicide prevention officers in 15-minute staggered shifts

where the officer will monitor the inmate every 15 minutes, take notes and place these notes into

the officer’s daily log. See Exhibit 14 – Rogers Depo., 34:13 to 38:03; Exhibit 20 – Bates 889.

       60.     While in the suicide prevention unit, the notes about Mr. Leonard move from 1:37

A.M. to 6:45 A.M. See Exhibit 10 – Bates 280; Exhibit 11 – Lawrence Depo., 58:2-8, 101:23 to

102:05; Exhibit 23 – Lawrence Report, p. 15.

       61.     Because Mr. Leonard was on close observation in the suicide prevention unit in

July 2017, Mr. Leonard was supposed to be checked on at least every 15 minutes. See Echele



                                                9
Depo., 111:5-8; Exhibit 24a – Fisher Depo., 8/23/19, 29:19-20; 30:24-25, 31:11-13; Exhibit 24b –

Fisher Depo., 2/11/20, 42:14-15, 83:25 to 84:2; Exhibit 25a – Harris Depo., 8/23/19, 62:14-21;

Exhibit 25b – Harris Depo., 2/5/20, 105:17-19; Exhibit 14 – Rogers Depo., 36:6-10; 37:17-18.

       62.     Within the suicide prevention unit, the only ways that a suicide prevention officer

can be informed of a suicide prevention unit inmate’s medical information is (1) through a

segregation report or (2) through an oral or written report provided to the on-duty officers by the

officers on the suicide prevention unit prior to a shift change. See Exhibit 24a – Fisher Depo.,

8/23/19, 33:5 to 35:2, 38:15-19; Exhibit 15 – Baumgartner Depo., 28:13 to 29:19.

       63.     In July 2017, a segregation report was written by Medical for each inmate in the

suicide prevention unit that could be read by the suicide prevention officer monitoring the inmate.

See Exhibit 24a – Fisher Depo., 8/23/19, 36:9 to 37:7, 41:22 to 42:1.

       64.     The segregation report issued for Mr. Leonard at 1:37 am on July 22, 2017 was

created prior to Mr. Leonard being pepper sprayed in July 2017. See Exhibit 26 – Defendants’

Bates 970.

       65.     The only note Defendant Martin made in the segregation report at 1:37 am was that

Mr. Leonard made suicidal statements and would be on close observation until cleared by a Mental

Health and Medical supervisor. See Exhibit 26 – Defendants’ Bates 970.

       66.     Even though Medical had knowledge of it, Mr. Leonard’s segregation report did

not comment on his eye condition, psychotic issues and whether he was disqualified from the use

of pepper spray. See Exhibit 26 – Defendants’ Bates 969-970; Martin Depo., 29:10-13, 34:10-14;

Answer from 4/29/21, ¶ 84 (ECF No. 91).

       67.     If Medical knew that Mr. Leonard had a serious eye condition, then that should

have been conveyed to the officers handling Mr. Leonard in 2017. See Exhibit 8 – Director Keen



                                                10
Depo., 20:12 to 21:02; Exhibit 17 – Garofalo Depo., 38:16-21; Exhibit 22 – Katsaris Depo., 26:6-

14; Exhibit 11 – Lawrence Depo., 60:19-24; Exhibit 22 – Katsaris Report, p. 10.

       68.     Medical was deliberately indifferent because Medical and Defendant Martin knew

or should have known Mr. Leonard had acute psychosis and reactive arthritis with active uveitis

and failed to document this on the Segregation Report. See Exhibit 11 – Lawrence Depo., 59:12-

19.

       69.     Corrections staff need to, at a minimum, have inmates flagged for medical review

before use of force of any kind, especially the use of pepper spray, where there is the possibility

of eye injury. See Exhibit 6 – Katsaris Report, p. 10.



IV.    EXCESSIVE FORCE WITH PEPPER SPRAY

       70.     Suicide prevention officers are required to do cell searches every day at the change

of each suicide prevention officer’s shift per St. Charles’ policy. See Exhibit 24a – Fisher Depo.,

8/23/19, 17:10 to 18:2.

       71.     The search on Mr. Leonard’s cell in the Suicide Prevention Unit was unnecessary

as Mr. Leonard had been in the cell less than the officer’s shift and the cell had been searched prior

to Mr. Leonard’s arrival. See Exhibit 8 – Director Keen Depo., 65:21 to 66:01; Exhibit 22 –

Katsaris Depo., 31:5-8.

       72.     Defendant Fisher’s shift was ending when the search of Mr. Leonard’s cell was

performed on July 22, 2017. See Answer from 4/29/21, ¶ 107 (ECF No. 91).

       73.     Defendant Fisher had a problem with Mr. Leonard on July 22, 2017 because he was

acting strange by, among other things, walking around pacing floors, cussing, naked, standing on

top of the bunk, and standing on the commode. See Exhibit 25a – Fisher Depo., 8/23/19, 21:7-13.



                                                 11
       74.     During the shift change, Defendant Fisher (hereinafter, “Defendant Fisher”)

informed suicide prevention officer Kristian Scott (hereinafter, “SPO Scott”) that Mr. Leonard was

received to the unit and had continued to display erratic behavior by standing on his bunk nude,

repeatedly flushing the toilet, shouting and banging his head on the door and walls. See Answer

from 4/29/21, ¶ 55 (ECF No. 91); Exhibit 21 – Defendants’ Bates 13 and 272.

       75.     Defendant Fisher waited until he had two additional officers, including Defendant

Steven Harris (hereinafter, “Defendant Harris”), to perform the search of Mr. Leonard’s cell

because of Mr. Leonard’s disturbing behavior at the time. See Answer from 4/29/21, ¶ 108 (ECF

No. 91); Exhibit 25a – Harris Depo., 8/23/19, 9:15-19.

       76.     The use of Oleorsin Capsicum, also known as “O.C. spray” or “pepper spray”, is a

use of force. See Answer from 4/29/21, ¶¶ 98 and 100; Exhibit 25a – Harris Depo., 8/23/19, 9:17-

20; Exhibit 27 – Defendants’ Bates 1227; Exhibit 28 – Defendants’ Bates 28.

       77.     A planned use of force is when there is not an emergent situation, and there is

enough time to plan an approach to an inmate. See Exhibit 12 – Echele Depo., 42:17 to 46:08;

Exhibit 22 – Katsaris Report, p. 12; Exhibit 8 – Director Keen Depo., 64:1-23.

       78.     Defendant Fisher had no time constraints or time deadlines in doing the cell search

on July 22, 2017, other than he wanted to leave. See Exhibit 24b – Fisher Depo., 2/11/20, 27:8-22,

69:23-25.

       79.     Defendant Fisher, Defendant Harris and SPO Scott had a meeting prior to entering

Mr. Leonard’s cell to discuss how to best approach the search of Mr. Leonard’s cell. See Exhibit

25b – Harris Depo., 2/5/20, 38:18-23, 41:7-8; Exhibit 11 – Lawrence Depo., 64:02-04; Exhibit 24b

– Fisher Depo., 2/11/20, 17:17-20.




                                               12
       80.     Defendant Fisher was the officer in charge of the briefing with SPO Scott and

Defendant Harris prior to searching Mr. Leonard’s cell on July 22, 2017. See Exhibit 24b – Fisher

Depo., 2/11/20, 17:21-25.

       81.     On July 22, 2017, Defendant Fisher instructed Defendant Harris to have his pepper

spray unholstered, in his hand and ready to use on Mr. Leonard prior to entering Mr. Leonard’s

cell on the suicide prevention unit “as a precaution in case [Mr. Leonard] imploded” and “as [a]

distraction” or “scare factor”. See Answer from 4/29/21, ¶ 110 (ECF No. 91); Exhibit 24a – Fisher

Depo., 8/23/19, 44:1-8, 14-16; Exhibit 24b – Fisher Depo., 2/11/20, 18:12-15, 19:4-12, 54:25 to

55:23; Exhibit 25a – Harris Depo., 8/23/19, 9:15-19, 9:24 to 10:1; Exhibit 25b – Harris Depo.,

2/5/20, 39:11-15, 40:4-7, 41:9-11; Exhibit 21 – Bates 268; Exhibit 6 – Katsaris Report, p. 12;

Exhibit 8 – Director Keen Depo., 64:1-23.

       82.     Instructing Defendant Harris to have his pepper spray out during the meeting was

a planned use of force. See Exhibit 8 – Director Keen Depo., 39:4-22, 41:13-15, 64:11-13, 64:20-

23; Exhibit 6 – Katsaris Depo., 32:7-9.

       83.     Defendant Fisher did not have authority to tell an officer to take their pepper spray

out. See Exhibit 8 – Director Keen Depo., 38:1-6, 38:19-22, 41:19-21.

       84.     Per St. Charles DOC procedures, any “planned use of force” must be authorized by

a supervisor. See Exhibit 6 – Katsaris Report, p. 12; Exhibit 8 – Director Keen Depo., 64:1-23.

       85.     Although they had the time to do so and because Mr. Leonard was not an immediate

threat to himself or others, Defendant Harris, SPO Scott, and Defendant Fisher did not consult

their supervisor, Lisa Baker (hereinafter, “Defendant Baker”), or Medical regarding the planned

use of force. See Exhibit 8 – Director Keen Depo., 38:7-9; 41:16-18, 64:1-23; Exhibit 24b – Fisher




                                                13
Depo., 2/11/20, 28:1-5; Exhibit 25b – Harris Depo., 2/5/20, 67:3-6; Exhibit 7 – Baker Depo.,

24:14-15, 25:24 to 26:3; Exhibit 6 – Katsaris Report, pp. 11-13.

       86.     It is St. Charles DOC’s policy that the only time that Medical is required to be

contacted is when there is a planned use of force, especially with the use of pepper spray. See

Answer from 4/29/21, ¶ 90 (ECF No. 91); Exhibit 29 – McKee Depo., 20:7-13; Exhibit 14 – Rogers

Depo., 28:09 to 32:08; Exhibit 30 – Spiess Depo., 21:02-25; Exhibit 31 – Vaughn Depo., 20:8-13,

29:10 to 30:02; Exhibit 17 – Garofalo Depo., 54:11-15.

       87.     It is St. Charles DOC’s policy that Medical should be contacted, if the situation

allows, before the use of pepper spray to determine if the inmate can be sprayed. See Exhibit 14 –

Rogers Depo., 24:13 to 27:06; Exhibit 28 – Defendants’ Bates 28; Exhibit 6 – Katsaris Report, p.

12; Exhibit 8 – Director Keen Depo., 64:1-23, 81:4 to 82:1.

       88.     The situation allowed for officers to contact medical prior to the use of pepper spray

as Mr. Leonard was not an immediate threat. See Exhibit 8 – Director Keen Depo., 82:2-4.

       89.     Prior to entering of Mr. Leonard’s cell to conduct a cell search, no one contacted

Medical or any supervisor to see if the Mr. Leonard could have been pepper sprayed, and no one

provided officers with necessary medical information. See Exhibit 13 – Martin Depo., 29:24 to

30:1, 30:7-10; Answer from 5/29/20 and 6/1/20, ¶ 95 (ECF No. 54 and 55); Exhibit 8 – Director

Keen Depo. 41:13-15, 42:4-11, 64:1-6, 65:6-19; Exhibit 6 – Katsaris Report, pp. 9-10.

       90.     Defendant Fisher would not have ordered the use of pepper spray on Mr. Leonard

on July 22, 2017 had he known about Mr. Leonard’s eye condition. See Exhibit 24a – Fisher Depo.,

8/23/19, 37:22-25, 38:9-14; Exhibit 24b – Fisher Depo., 2/11/20, 35:7-11, 80:15-18; Answer from

4/29/21, ¶ 118 (ECF No. 91).




                                                14
       91.     Any of St. Charles DOC’s nurses can provide information about whether pepper

spray can be used on a particular inmate. See Exhibit 17 – Garofalo Depo., 54:25 to 55:10.

       92.     On July 22, 2017, St. Charles’ medical department was within 80 to 100 feet of Mr.

Leonard’s cell in St. Charles’ suicide prevention unit. See Exhibit 13 – Martin Depo., 76:4-10;

Harris Depo., 2/5/20, 98:11-16.

       93.     The staff on Medical have radios, and those staff automatically hear any medical

call that goes out and are obligated to respond. See Exhibit 25b – Harris Depo., 2/5/20, 93:1-7.

       94.     It is the St. Charles DOC’s policy that if an officer has knowledge of an inmate’s

respiratory condition, heart condition or is allergic, then the officer cannot use pepper spray on

that inmate. See Exhibit 30 – Spiess Depo., 45:11-25; Exhibit 28 – Defendants’ Bates 28.

       95.     The St. Charles DOC’s training materials and policy state that an inmate should be

sprayed in the eyes with pepper spray. See Exhibit 17 – Garofalo Depo., 52:4-6; Exhibit 28 –

Defendants’ Bates 28; Exhibit 32 – Defendants’ Bates 333 and 376.

       96.     The St. Charles DOC’s training materials state pepper spray is designed to effect

the eye and includes immediate inflammation of the blood vessels, mucous membrane. See Exhibit

32 – Defendants’ Bates 300 and 322.

       97.     The chemical composition of pepper spray could injure Mr. Leonard’s eye even if

deployed at the recommended distance due to Mr. Leonard’s pre-existing eye condition. See

Exhibit 32 – Defendants’ Bates 315-318; Exhibit 11 – Lawrence Depo., 66:08-17.

       98.     Mr. Leonard’s eye disease contraindicated the use of pepper spray. See Exhibit 6 –

Katsaris Report, p. 12; Exhibit 3 – Hunt Depo., 29:14-23, 36:17 to 37:3; Exhibit 11 – Lawrence

Depo., 47:12-18, 47:22-24, 113:12-14, 114:13-16; Exhibit 8 – Director Keen Depo., 64:1-23.




                                                15
       99.    The St. Charles DOC knew that Mr. Leonard had Reiter’s syndrome before he was

sprayed with pepper spray. See Exhibit 12 – Echele Depo., 120:24 to 121:03.

       100.   Had a St. Charles DOC employee asked Defendant Martin if pepper spray should

have been used on Mr. Leonard, Defendant Martin would have told that employee not to use pepper

spray on Mr. Leonard on July 22, 2017 because of Mr. Leonard’s Reiter’s Syndrome. See Exhibit

13 – Martin Depo., 30:11-14, 31:22-25; Exhibit 11 – Lawrence Depo., 45:6-11; Exhibit 6 –

Katsaris Report, p. 12; Exhibit 8 – Director Keen Depo., 64:1-23.

       101.   It was apparent to all officers involved with Mr. Leonard’s cell search, staff, and

Medical that Mr. Leonard was going through a mental health episode. See Exhibit 8 – Director

Keen Depo., 56:12-25, 64:1-23; Exhibit 22 – Katsaris Depo., 30:2-14; Exhibit 6 – Katsaris Report,

p. 11; Exhibit 11 – Lawrence Depo., 92:03-08.

       102.   It is not appropriate to use pepper spray on someone who is going through a mental

health episode. See Exhibit 8 – Director Keen Depo., 57:1-4; Exhibit 22 – Katsaris Depo., 36:16-

21.

       103.   The St. Charles DOC’s own training states that the psychological effects of using

pepper spray include fear, anxiety, possible panic, and hyperventilation. See Exhibit 32 –

Defendants’ Bates 326.

       104.   One of the contributing factors to in-custody death syndrome, or dying in custody

after being pepper-sprayed, is being in a state of extreme mental and psychological excitement,

which is what was happening with Mr. Leonard. See Lawrence Depo., 53:6-12; Exhibit 32 –

Defendants’ Bates 307.




                                                16
       105.      The officers had many indications of Mr. Leonard not following directions prior to

entering the cell. See Exhibit 8 – Director Keen Depo., 58:23 to 59:01; Exhibit 22 – Katsaris Depo.,

49:23 to 50:3.

       106.      The officers should have anticipated that Mr. Leonard would have problems

obeying simple directions. See Exhibit 8 – Director Keen Depo., 59:6-14.

       107.      Defendant Fisher, Defendant Harris and SPO Scott entered Mr. Leonard’s cell at

approximately 6:40 am in the suicide prevention unit to perform the aforementioned search of Mr.

Leonard’s cell with pepper spray unholstered and ready to use. See Answer from 4/29/21, ¶ 124;

Exhibit 25b – Harris Depo., 2/5/20, 50:6-15.

       108.      Pepper spray should not have been readied for use prior to entering Mr. Leonard’s

cell. See Exhibit 8 – Director Keen Depo., 37:21-25 and 41:19-21.

       109.      Mr. Leonard was handcuffed by Defendant Fisher before the cell was searched. See

Exhibit 24a – Fisher Depo., 8/23/19, 46:8-13; Exhibit 21 – Defendants’ Bates 13 and 268.

       110.      Mr. Leonard was compliant with the cell search until Defendant Fisher told Mr.

Leonard that he would be sprayed with pepper spray if he moved. See Exhibit 25a – Harris Depo.,

8/23/19, 10:15-22; Exhibit 25b – Harris Depo., 2/5/20, 34:4-22; Exhibit 21 – Defendants’ Bates

268.

       111.      Right after Defendant Harris told Mr. Leonard that if he moved, he would be

sprayed with pepper spray, Mr. Leonard rose to his feet and moved. See Exhibit 25a – Harris

Depo., 8/23/19, 10:23-24.

       112.      Defendant Harris believed Mr. Leonard was not walking towards the officers, but

around them. See Answer from 4/29/21, ¶ 125 (ECF No. 91).




                                                 17
       113.    Mr. Leonard was not taking an aggressive action towards any officer and was not a

“serious physical threat.” See Exhibit 25b – Harris Depo., 2/5/20, 51:18-22, 53:9-11, 76:16-25;

Exhibit 8 – Director Keen Depo., 59:2-10, 64:1-23; Exhibit 22 – Katsaris Depo., 48:21-24; Exhibit

6 – Katsaris Report, p. 11.

       114.    The level of resistance required to use pepper spray on an inmate nationally and by

St. Charles DOC policy is “active aggression,” which is “physical actions of attempting to assault

others. This would include attempting to hit, kick, spit, swinging or throwing objects, and such

that could harm or injure anyone within striking distance.” See Exhibit 28 – Defendants’ Bates 27;

Exhibit 6 – Katsaris Report, p. 11; Exhibit 8 – Director Keen Depo., 64:1-23.

       115.    Per St. Charles DOC policy, pepper spray may only be used if it is required to

defend oneself or another from infliction of serious injury or death. See Exhibit 24b – Fisher Depo.,

2/11/20, 71:19-23, 72:14-19; Exhibit 6 – Katsaris Report, p. 13; Exhibit 8 – Director Keen Depo.,

64:1-23; Exhibit 32 – Defendants’ Bates 305.

       116.    Mr. Leonard was pepper sprayed for not following directions during a cell search

in the Suicide Prevention Unit. See Exhibit 8 – Director Keen Depo., 58:2-5.

       117.    Defendant Harris pepper sprayed Mr. Leonard in the face while Mr. Leonard was

handcuffed. See Answer from 4/29/21, ¶ 126; Exhibit 21 – Defendants’ Bates 268.

       118.    Pepper spray should not be used on a handcuffed person. See Exhibit 8 – Director

Keen Depo., 37:8-10, 15-17, 42:12-14, 57:05-09; Exhibit 22 – Katsaris Depo., 52:6-11.

       119.    Per St. Charles DOC’s Use of Force Policy, an unnecessary force is “a force which

a reasonable and prudent person would agree is not necessary in defense of one’s self or another

from infliction of serious injury or death.” See Exhibit 27 – Defendants’ Bates 1226.




                                                 18
       120.    The use of force by Defendant Harris was incorrect and should not have happened.

See Exhibit 8 – Director Keen Depo., 64:1-23, 71:14-16; Exhibit 6 – Katsaris Report, pp. 11, 13.

       121.    The use of force against Mr. Leonard did not comport with St. Charles DOC’s

official policy nor the generally recognized, trained, and accepted procedures of the use of pepper

spray. See Exhibit 6 – Katsaris Report, p. 11; Exhibit 8 – Director Keen Depo., 64:1-23.

       122.    The level of force used on Mr. Leonard exceeded the force authorized by policy

and nationally accepted practices. See Exhibit 6 – Katsaris Report, p. 13; Exhibit 8 – Director Keen

Depo., 64:1-23.

       123.    St. Charles DOC pepper spray policy states “Once the decision has been made to

use pepper spray, it must be used in accordance with the product instructions and training

techniques.” Exhibit 28 – Defendants’ Bates 28.

       124.    Defendant Harris inappropriately deployed pepper spray on Mr. Leonard about 12

to 18 inches from Mr. Leonard’s face. See Exhibit 6 – Katsaris Report, pp. 11, 13; Exhibit 8 –

Director Keen Depo., 64:1-23; Exhibit 33a – Video from 7/22/17 at 645 Hours.

       125.    St Charles DOC training states minimum deployment distance is 3 feet. See Exhibit

32 – Defendants’ Bates 333, 377.

       126.    Distance restrictions are in place to protect inmates from the hydraulic need effect,

which occurs when propellent pressure drives spray particles into the soft tissue and small

punctures in a person’s eye, risking injury to the eyes. See Exhibit 25a – Harris Depo., 8/23/19,

46:21 to 47:1; Exhibit 23 – Lawrence Report, p. 23; Exhibit 11 – Lawrence Depo., 64:22 to 65:04.

       127.    Mr. Leonard is more likely to suffer from a needling injury because of his pre-

existing uveitis. See Exhibit 11 – Lawrence Depo., 66:01-14, 66:24 to 67:07; Exhibit 23 –

Lawrence Report, p. 20.



                                                19
       128.    Mr. Leonard immediately fell to the ground after pepper spray was administered.

See Answer from 4/29/21, ¶ 133 (ECF No. 91); Exhibit 21 – Defendants’ Bates 268; Exhibit 25b

– Harris Depo., 2/5/20, 33:8-10, 35:6-7.

       129.    No contraband was ever discovered in Mr. Leonard’s cell despite multiple

subsequent cell searches. See Answer from 4/29/21, ¶ 135 (ECF No. 91).

       130.    The cell search and the planned use of pepper spray was being used as a punishment

against Mr. Leonard by Defendant Harris and Defendant Fisher for Mr. Leonard’s behavior during

Defendant Fisher’s shift. See Exhibit 22 – Katsaris Depo., 40:13-16.



V.     LACK OF CARE AFTER PEPPER SPRAY

       131.    Per St. Charles DOC policy, the OC Administrative Warning should be given to

the inmate as soon as feasibly possible after contamination in order to determine if any potential

health threats exist. See Exhibit 34 – TJA Use of Force Corrections, pp. 4-5.

       132.    An officer is supposed to ask an inmate if there are any potential health threats to

the inmate after spraying an inmate with pepper spray. See Exhibit 24b – Fisher Depo, 2/11/20,

83:17-21, 84:17 to 85:5.

       133.    An officer is supposed to determine if serious medical condition requiring

emergency services exist after being sprayed. See Exhibit 32 – Defendants’ Bates 354.

       134.    After Mr. Leonard was sprayed with pepper spray, Defendants did not give Mr.

Leonard the recommended official pepper spray administrative warning. See Exhibit 24b – Fisher

Depo, 2/11/20, 85:15-17.




                                                20
       135.    As of February 11, 2020, St. Charles did not give the official pepper spray

administrative warning to inmates who had just been pepper sprayed. See Exhibit 24b – Fisher

Depo, 2/11/20, 84:17 to 85:14.

       136.    After Mr. Leonard was sprayed with pepper spray by Defendant Harris in the

Suicide Prevention Unit, no one asked Mr. Leonard if he was going to hurt himself. See Exhibit

24b – Fisher Depo, 2/11/20, 44:18-21, 44:22-23, 84:9-16.

       137.    Per St. Charles DOC training, after an inmate has been sprayed the officer is to

monitor the subject and verbally reassure them that the pain they are experiencing is temporary.

See Exhibit 32 – Defendants’ Bates 301.

       138.    An inmate going through a mental health episode requires different care after being

sprayed with pepper spray. See Exhibit 8 – Director Keen Depo., 57:10-15; Lawrence Depo.,

72:05-07.

       139.    An inmate who cannot follow directions requires different care after being pepper

sprayed. See Exhibit 8 – Director Keen Depo., 57:21-24.

       140.    Mr. Leonard could not follow directions at the time of pepper spray and after. See

Exhibit 8 – Director Keen Depo., 57:25 to 58:01; Exhibit 11 – Lawrence Depo., 73:11-19.

       141.    Mr. Leonard was not assisted with decontamination nor brought to an “eye wash

station” utilized with medical assistance. See Exhibit 6 – Katsaris Report, pp. 13, 14; Exhibit 8 –

Director Keen Depo., 64:1-23; Answer from 4/29/21, ¶ 146 (ECF No. 91).

       142.    St. Charles DOC’s policy requires the officer who pepper sprayed the inmate to be

responsible for the aftercare of the inmate and the documentation of the aftercare of the inmate.

See Exhibit 24b – Fisher Depo, 2/11/20, 40:18-22; Exhibit 32 – Defendants’ Bates 301.




                                                21
       143.    As the officer who sprayed Mr. Leonard in the eyes with pepper spray, Defendant

Harris was responsible for the aftercare and documentation of the aftercare of Mr. Leonard. See

Answer from 4/29/21, ¶ 140 (ECF No. 91); Exhibit 23 – Lawrence Report, p. 21; Exhibit 11 –

Lawrence Depo., 70:03-7, 104:17-22; Exhibit 8 – Director Keen Depo., 64:1-23.

       144.    The decontamination process includes removing the subject from the contaminated

area, using copious amounts of cool water into open eyes and stroking the eyes. See Exhibit 32 –

Defendants’ Bates 355, Exhibit 14 – Rogers Depo., 32:16 to 34:04; Exhibit 11 – Lawrence Depo.,

71:20 to 72:05.

       145.    It is inappropriate for an officer to spend less than a minute in aftercare and then

not communicate to another officer or hand a person off to another officer to ensure that aftercare

is completed. See Exhibit 24b – Fisher Depo, 2/11/20, 41:3-8.

       146.    The extent of Defendant Harris’ aftercare for Mr. Leonard lasted for approximately

one minute after he pepper sprayed Mr. Leonard in the face on July 22, 2017. See Exhibit 25b –

Harris Depo., 2/5/20, 81:10-11, 16-21, 82:4-5; Exhibit 23 – Lawrence Report, p. 21; Exhibit 11 –

Lawrence Depo., 70:8-10, 15-17.

       147.    As a result of leaving one minute after Mr. Leonard started to rinse out his eyes,

Defendant Harris was unable to document how long and how well Mr. Leonard washed out his

eyes. See Answer from 4/29/21, ¶ 145 (ECF No. 91); Exhibit 25b – Harris Depo., 2/5/20, 82:6-8;

Exhibit 23 – Lawrence Report, p. 21; Exhibit 11 – Lawrence Depo., 70:15-19, 71:12-15.

       148.    Defendant Harris does not even mention Mr. Leonard’s aftercare treatment in his

incident report other than moving Mr. Leonard to cell 1. See Exhibit 21 – Defendants’ Bates 268.




                                                22
       149.    After Defendant Harris departed from Mr. Leonard on July 22, 2017, he left SPO

Scott in charge of Mr. Leonard’s pepper spray aftercare. See Exhibit 25b – Harris Depo., 2/5/20,

85:4-17.

       150.    St. Charles DOC’s policy requires the officer who pepper sprayed the inmate to

document who provided the aftercare if the spraying officer cannot provide the aftercare and hands

off that aftercare duty to another officer. See Exhibit 24b – Fisher Depo, 2/11/20, 40:23 to 41:2;

Exhibit 32 – Defendants’ Bates 301.

       151.    Defendant Harris did not document that he left SPO Scott in charge of Mr.

Leonard’s pepper spray aftercare in violation of St. Charles DOC’s policy. See Exhibit 25b – Harris

Depo., 2/5/20, 85:22-24, 90:14-25.

       152.    Defendant Fisher and Defendant Harris’ actions including the plan of an

unauthorized use of force, the deployment of pepper spray, a lack of proper medical intervention,

and the lack of the use of an eye wash station were escalating causation toward the final injurious

actions taken by Mr. Leonard himself resulting in the loss of one of his eyes. See Exhibit 6 –

Katsaris Report, p. 14; Exhibit 8 – Director Keen Depo., 64:1-23.

       153.    After inspecting Mr. Leonard’s cell, Defendant Baker directed the transferring of

Mr. Leonard to a new cell. See Answer from 4/29/21, ¶ 137 (ECF No. 91); Exhibit 21 –

Defendants’ Bates 268; Exhibit 21 – Defendants’ Bates 13.

       154.    On-duty nurse Defendant Martin then inspected Mr. Leonard and directed the

washing out of Mr. Leonard’s eyes with water. See Answer from 4/29/21, ¶ 139 (ECF No. 91);

Exhibit 10 – Defendants’ Bates 280; Exhibit 6 – Katsaris Report, p. 13; Exhibit 8 – Director Keen

Depo., 64:1-23.




                                                23
       155.   Defendant Martin asked that Mr. Leonard be given a shower after Mr. Leonard was

pepper sprayed but before Mr. Leonard removed his eyeball from his eye socket on July 22, 2017.

See Exhibit 13 – Martin Depo., 46:16-18.

       156.   The St. Charles DOC would not allow Mr. Leonard to be given a shower because

the officers considered Mr. Leonard too volatile for a shower. See Exhibit 13 – Martin Depo.,

46:16-18.

       157.   Mr. Leonard should have been moved to the shower to be decontaminated. See

Exhibit 8 – Director Keen Depo., 40:1-3, 74:18-24.

       158.   Defendant Martin then asked that Mr. Leonard be brought to St. Charles’ medical

department, and he needed to be monitored after Mr. Leonard was pepper sprayed but before Mr.

Leonard removed his eyeball from his eye socket on July 22, 2017. See Exhibit 13 – Martin Depo.,

46:18-20 and 48:22 to 49:4.

       159.   The St. Charles DOC would not allow Mr. Leonard to be brought to St. Charles’

medical department because the St. Charles DOC considered Mr. Leonard too volatile to be

brought to the St. Charles DOC’s medical department. See Exhibit 13 – Martin Depo., 46:18-20;

Exhibit 11 – Lawrence Depo., 71:06-08.

       160.   After Mr. Leonard was pepper sprayed and subsequently transferred to his new cell

in the suicide prevention unit, no restraints were used on Mr. Leonard immediately prior to Mr.

Leonard’s self-harm event. See Answer from 4/29/21, ¶ 138 (ECF No. 91); Exhibit 21 –

Defendants’ Bates 268; Exhibit 21 – Defendants’ Bates 13.

       161.   Prior to Mr. Leonard removing his eyeball from his eye socket on July 22, 2017,

Defendant Martin knew that Mr. Leonard had a significant risk of self-harm. See Exhibit 13 –

Martin Depo., 21:17-19.



                                              24
         162.   Defendant Martin was able to request that Haldol be administered to Mr. Leonard

on July 21, 2017 or July 22, 2017 prior to Mr. Leonard attempting to remove his eyeball from his

eye socket, but she never did so. See Exhibit 13 – Martin Depo., 52:1-16, 57:18-21, 58:11-14, 61:4;

Exhibit 11 – Lawrence Depo., 94:4-8.

         163.   Per St. Charles DOC’s policy, emergency services should be called if “significant

relief” is not achieved after 45 minutes from the time that an inmate is pepper sprayed. See Exhibit

17 – Garofalo Depo., 55:23 to 56:10; Exhibit 32 – Defendants’ Bates 355 and 378; Exhibit 14 –

Rogers Depo., 32:16 to 34:04.

         164.   While the St. Charles DOC has stated that there is no definition for “significant

relief”, the St. Charles DOC has defined significant relief as the ability to see without significant

burning. See Exhibit 14 – Rogers Depo., 32:16 to 34:04; Exhibit 30 – Spiess Depo., 36:11 to

41:02.

         165.   As of February 26, 2020, whether “significant relief” had been achieved was

accomplished by looking at the pepper sprayed inmate or talking to the pepper sprayed inmate to

determine if the inmate was still complaining of burning in his or her eyes. See Exhibit 17 –

Garofalo Depo., 55:23 to 56:10.

         166.   At 6:45 am on July 22, 2017, Defendant Martin thought about how the pepper spray

might affect Mr. Leonard’s eye in light of Mr. Leonard’s Reiter’s Syndrome. See Exhibit 13 –

Martin Depo., 47:22 to 48:1, 48:11-15.

         167.   After her initial exam, Defendant Martin did not do any follow-up care to ensure

that the instruction she gave Mr. Leonard to rise his eyes with water had assuaged or alleviated

any of his eye irritation. See Exhibit 13 – Martin Depo., 48:16-21, 49:5-14, 67:2-8, 67:24 to 68:7.




                                                 25
       168.    The only treatment that Mr. Leonard received from the St. Charles DOC’s

employees after Mr. Leonard was pepper sprayed and before he self-injured his eye was that he

was moved from one cell to another, and Defendant Martin came to see him. See Exhibit 17 –

Garofalo Depo., 56:11-21.

       169.    It is the St. Charles DOC’s policy to monitor the sprayed inmate for at least two

hours once pepper spray is used because the inmate may have a reaction or some other medical

difficulties or extreme eye irritation in response to the pepper spray. See Exhibit 34 – TJA Use of

Force Corrections, p. p. 4; Exhibit 32 – Defendants’ Bates 355; Exhibit 14 – Rogers Depo., 32:16

to 34:04; Exhibit 24b – Fisher Depo, 2/11/20, 83:4-12; Exhibit 7 – Baker Depo., 44:5-8, 44:12-13,

55:14-16.

       170.    Mr. Leonard had eye irritation after he was pepper sprayed on July 22, 2017. See

Exhibit 13 – Martin Depo., 30:18-20, 32:10-14.

       171.    Officers do not know who is required to monitor the inmate once pepper sprayed

and have different answers as to whether it is the officer assigned to the housing unit, the shift

supervisor and/or Medical. See Exhibit 14 – Rogers Depo., 32:16 to 34:04; Exhibit 31 – Vaughn

Depo., 27:11 to 28:08; Exhibit 30 – Spiess Depo., 36:11 to 41:02.

       172.    The St. Charles DOC’s policy does not define or provide guidance on what

monitoring an inmate means. See Exhibit 14 – Rogers Depo., 32:16 to 34:04; Exhibit 30 – Spiess

Depo., 36:11 to 41:02.

       173.    The St. Charles DOC does not have any policies or procedures with respect to

escorting an inmate to and using the eye wash station or monitoring the inmate once the inmate

has been pepper sprayed. See Exhibit 30 – Spiess Depo., 036:11 to 041:02.




                                                26
       174.   There was a video camera watching the outside of Mr. Leonard’s cell in the suicide

prevention unit on July 22, 2017. See Exhibit 25b – Harris Depo., 2/5/20, 100:11-18.

       175.   Employees of St. Charles would have been watching the video camera outside of

and inside of Mr. Leonard’s cell in the suicide prevention unit on July 22, 2017. See Exhibit 25b

– Harris Depo., 2/5/20, 100:19-21.

       176.   St. Charles lost some of the July 22, 2017 video of the events leading to Mr.

Leonard’s eye being damaged. See Exhibit 13 – Martin Depo., 24:5-7.

       177.   The aforementioned destroyed video has been permanently deleted and cannot be

recovered. See Answer from 4/29/21, ¶ 168 (ECF No. 91).

       178.   At this point, Mr. Leonard was still alone in his new cell unrestrained, without

sedation and without any psychiatric medications. See Answer from 4/29/21, ¶ 157 (ECF No. 91).

       179.   The pepper spray was still in Mr. Leonard’s eye and was affecting Mr. Leonard

when Mr. Leonard damaged his eye. See Exhibit 7 – Baker Depo., 56:10-15.

       180.   When contaminated with pepper spray, a subject should not rub their eyes, and

officers should instruct pepper sprayed inmates accordingly. See Exhibit 32 – Defendants’ Bates

301; Exhibit 32 – Defendants’ Bates 357.

       181.   Prior to Mr. Leonard removing his eyeball from his eye socket on July 22, 2017,

Mr. Leonard was rubbing his eye strongly. See Exhibit 13 – Martin Depo., 32:20-25.

       182.   Mr. Leonard began yelling loudly in his cell. See Answer from 4/29/21, ¶ 148 (ECF

No. 91).

       183.   Defendant Baker stated that Mr. Leonard was clawing at his eye because of the

pepper spray. See Answer from 4/29/21, ¶ 154 (ECF No. 91).




                                               27
         184.   The video camera inside Mr. Leonard’s cell shows Mr. Leonard gouging at his eyes

in frustration and pain. See Exhibit 6 – Katsaris Report, p. 13; Exhibit 8 – Director Keen Depo.,

64:1-23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

         185.   Mr. Leonard injured his eye because of the pepper spray use. See Exhibit 7 – Baker

Depo., 55:5-6 and Exhibit 6 – Katsaris Report, P. 9, 14; Exhibit 8 – Director Keen Depo., 64:1-23.

         186.   From the video inside the cell, Mr. Leonard can be seen pacing around, occasionally

bending over to wash his face and eyes with water for about 4 minutes and 40 seconds. See Exhibit

23 – Lawrence Report, p. 23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

         187.   After 4 minutes and 40 seconds in the video, Mr. Leonard can be seen clawing at

his left eye with his left hand. See Exhibit 23 – Lawrence Report, p. 23; Exhibit 33b – Video from

7/22/17 at 733 Hours.

         188.   Mr. Leonard persisted to vigorously tear at his eye until 7 minutes and 3 seconds,

when he falls on the floor and immediately resumes digging at his eye. See Exhibit 23 – Lawrence

Report, p. 23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

         189.   At 7 minutes 21 seconds, blood can be seen on the floor near Mr. Leonard’s face.

See Exhibit 23 – Lawrence Report, p. 23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

         190.   At 8 minutes 32 seconds a larger amount of blood in seen on the floor in a different

location in the cell which Mr. Leonard is still scraping at his eye. See Exhibit 23 – Lawrence

Report, p. 23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

         191.   A 9 minutes 3 seconds a large pool of blood and tissue is seen on another area of

the cell floor. See Exhibit 23 – Lawrence Report, p. 23; Exhibit 33b – Video from 7/22/17 at 733

Hours.




                                                 28
       192.    The cell video shows that Mr. Leonard fell to the floor, turned over, was gouging

at his eye, and blood was visible on the floor. See Exhibit 6 – Katsaris Report, p. 14; Exhibit 8 –

Director Keen Depo., 64:1-23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

       193.    No officer made an entry to the cell from the time Mr. Leonard was standing at the

sink, to turning and gouging, to falling, rolling, and bleeding. See Exhibit 6 – Katsaris Report, p.

14; Exhibit 8 – Director Keen Depo., 64:1-23; Exhibit 33b – Video from 7/22/17 at 733 Hours.

       194.    You are able to see into each of the cells from anywhere in the suicide prevention

unit. See Exhibit 24a – Fisher Depo., 8/23/19, 30:16-18.

       195.    The officers simply watched Mr. Leonard in agony and pain gouge his own eye out.

See Exhibit 6 – Katsaris Report, p. 14; Exhibit 13 – Martin Depo., 17:10-14, 15:13-17; Exhibit 7

– Baker Depo., 41:16-20, 18-23, 41:24 to 42:42; Exhibit 12 – Echele Depo., 90:01 to 90:06; Exhibit

8 – Director Keen Depo., 64:1-23.

       196.    Suicide Prevention Officer Kristian Scott was at the door outside of Mr. Leonard’s

cell while Mr. Leonard was injuring himself, and Defendant Baker walked up to SPO Scott while

Mr. Leonard was injuring himself. See Exhibit 7 – Baker Depo., 41:24 to 42:42.

       197.    Defendant Baker was across the hall from Mr. Leonard’s cell when he was injuring

himself. See Exhibit 7 – Baker Depo., 41:16-20.

       198.    SPO Scott monitored Mr. Leonard, through a window, pulling on his eye before the

Mr. Leonard pulled it out. See Exhibit 12 – Echele Depo., 90:1-6.

       199.    No one tried to restrain Mr. Leonard, prevent Mr. Leonard from hurting himself, or

stop Mr. Leonard from removing his eyeball from his eye socket on July 22, 2017 in the suicide

prevention unit. See Exhibit 13 – Martin Depo., 15:2-7, 16:20-21, 18:17, 19:1; Exhibit 6 – Katsaris

Report, p. 14; Exhibit 8 – Director Keen Depo., 64:1-23.



                                                29
       200.    A medical emergency call was made because Mr. Leonard was attempting to pull

his eye out. See Harris Depo., 8/23/19, 63:11-17; Exhibit 21 – Defendants’ Bates 271; Exhibit 18

– Defendants’ Bates 408.

       201.    Defendant Baker went into the hall outside of Mr. Leonard’s cell while Mr. Leonard

was injuring himself because a medical emergency was called. See Exhibit 7 – Baker Depo., 41:18-

23; Exhibit 6 – Katsaris Report, p. 14; Exhibit 8 – Director Keen Depo., 64:1-23.

       202.    SPO Scott and Defendant Baker waited outside of Mr. Leonard’s cell for additional

officers to respond while Mr. Leonard was injuring himself. See Exhibit 7 – Baker Depo., 42:7-8.

       203.    The St. Charles DOC’s Medical Emergency Policy states immediately after the

staff member has made the emergency broadcast on the two-way radio, the Corrections staff will

immediately begin CPR and/or first aid, until the arrival of the medical staff and/or relief staff. See

Exhibit 35 – Defendants’ Bates 854.

       204.    The St. Charles DOC’s Medical Emergency Policy notes that corrections officers

will not enter any cells or holdovers without appropriate backup. See Exhibit 35 – Defendants’

Bates 854.

       205.    The St. Charles DOC’s Medical Emergency Policy does not define “appropriate

backup”. See Exhibit 35 – Defendants’ Bates 854.

       206.    Defendant Baker believed that the St. Charles DOC’s policy stated that no one was

allowed to intervene to prevent Mr. Leonard from damaging his eye until at least three officers

were present. See Exhibit 7 – Baker Depo., 19:15 to 20:4.

       207.    Defendant Baker waited for at least three officers to be present before entering Mr.

Leonard’s cell. See Exhibit 7 – Baker Depo., 42:8-10, 15-18.




                                                  30
       208.    It took four to five minutes for Mr. Leonard to pop his eyeball out of his eye socket

on July 22, 2017. See Exhibit 13 – Martin Depo., 14:25 to 15:1; Answer from 4/29/21, ¶ 160 (ECF

No. 91).

       209.    By the time that the other officers and Defendant Baker entered Mr. Leonard’s cell,

Mr. Leonard had already injured his eye. See Exhibit 7 – Baker Depo., 42:13-14.

       210.    There were enough officers present to ensure officer safety to immediately

intervene and prevent Mr. Leonard from damaging his eye. See Exhibit 8 – Director Keen Depo.,

49:22-25; Exhibit 22 – Katsaris Depo., 62:15 to 63:24.

       211.    The officers’ lack of proper intervention to Mr. Leonard’s action was unjustified

and too slow. See Exhibit 6 – Katsaris Report, p. 14; Exhibit 8 – Director Keen Depo., 50:9-12,

64:1-23.

       212.    As of June 3, 2020, Defendant Martin does not know why none of St. Charles’

employees had tried to prevent Mr. Leonard from self-harming his eye during the time that Mr.

Leonard was attempting to self-harm his eye in her presence. See Exhibit 13 – Martin Depo.,

15:19-21.

       213.    Defendants were deliberately indifferent when they failed to continuously monitor

Mr. Leonard after he was pepper-sprayed and intervene immediately to prevent him from self-

enucleating his left eye. See Exhibit 11 – Lawrence Depo., 77:10-21.

       214.    The failure of intervention by St. Charles DOC with Mr. Leonard is the most

egregious failure in a medical/physical crisis ever reviewed by expert Ken Katsaris. See Exhibit 6

– Katsaris Report, p. 14; Exhibit 8 – Director Keen Depo., 64:1-23.

       215.    Officers should be terminated for this kind of omission. See Exhibit 6 – Katsaris

Report, p. 15; Exhibit 8 – Director Keen Depo., 64:1-23.



                                                31
        216.   When Defendant Martin arrived after the emergency call, Mr. Leonard was in his

cell with the door open with a St. Charles DOC employee guarding the door to Mr. Leonard’s cell.

See Exhibit 13 – Martin Depo., 14:14-18.

        217.   There were at least four or five St. Charles DOC employees in the hall outside of

Mr. Leonard’s cell. See Exhibit 13 – Martin Depo., 15:13-18; Exhibit 6 – Katsaris Report, p. 14;

Exhibit 8 – Director Keen Depo., 64:1-23.

        218.   Defendant Martin observed Mr. Leonard’s eye out of its socket and hanging on by

tissue on July 22, 2017. See Exhibit 13 – Martin Depo., 12:9-13; Exhibit 10 – Defendants’ Bates

280.

        219.   Mr. Leonard had been pepper sprayed roughly 45 minutes before removing his

eyeball from his eye socket on July 22, 2017. See Exhibit 13 – Martin Depo., 14:1-7.

        220.   After Mr. Leonard removed his eyeball from his eye socket on July 22, 2017,

Defendant Martin got a couple of four by fours, wet it with saline, opened Mr. Leonard’s eye

socket, set Mr. Leonard’s eyeball back into his eye socket to the extent possible, and then covered

Mr. Leonard’s damaged eye with saline and some gauze. See Exhibit 13 – Martin Depo., 11:23 to

12:4.

        221.   Mr. Leonard was provided with Haldol for the first time on July 22, 2017 by the

EMTs. See Exhibit 13 – Martin Depo., 51:15-17; Exhibit 10 – Defendants’ Bates 280.

        222.   After 1-2 minutes of Haldol injection by emergency medical services, Mr. Leonard

was relaxed, quiet, and non-combative. See Exhibit 10 – Defendants’ Bates 280.

        223.   Mr. Leonard was then transported to SSM Health St. Joseph Hospital in St. Charles,

Missouri that same day. See Answer from 5/29/20 and 6/1/20, ¶ 126 (ECF No. 54 and 55); Exhibit




                                                32
8 – Director Keen Depo., 8:3 and 5-6, 64:1-6 and 65:6-19; Exhibit 6 – Katsaris Report, pp. 9-10;

Exhibit 18 – Defendants’ Bates 408.

       224.   Mr. Leonard was first sent to St. Joseph’s Hospital in response to his self-harm

event in July 2017. See Exhibit 13 – Martin Depo., 66:6-12; Exhibit 18 – Defendants’ Bates 408.

       225.   After St. Joseph’s Hospital, Mr. Leonard was sent to Saint Louis University

Hospital in July 2017 because St. Joseph’s could not adequately handle the trauma from Mr.

Leonard’s self-harm event. See Exhibit 13 – Martin Depo., 66:6-12.

       226.   Mr. Leonard was then transported to Saint Louis University Hospital that same day.

See Answer from 4/29/21, ¶ 174 (ECF No. 91); Exhibit 18 – Defendants’ Bates 408.

       227.   On August 9, 2017, Dr. Rao determined after doing an examination of Mr. Leonard

that the eye was blind and that he could not do anything to improve the situation; so the eye

blindness was a permanent condition, and Mr. Leonard eventual arranged for surgical removal.

See Exhibit 2 – Rao Depo., 32:20-22, 33:16 to 34:13, 47:24 to 48:1, 48:8-13.



VI.    FAILURE TO INVESTIGATE AND DISCIPLINE

       228.   St. Charles DOC Lieutenant Michael McKee (hereinafter, “Lt. McKee”) spoke to

Michele after the pepper spray and stated that they did not have Mr. Leonard’s medical issues

documented. See Exhibit 9 – Manoli Decl., ¶ 23; Answer from 4/29/21, ¶¶ 177 and 178 (ECF No.

91).

       229.   Lieutenant McKee further stated to Michele that Mr. Leonard should never have

been pepper sprayed if he had an eye problem. See Exhibit 9 – Manoli Decl., ¶ 24; Answer from

4/29/21, ¶ 180 (ECF No. 91).




                                              33
       230.    As of February 12, 2021, according to Lieutenant McKee, the following abusive

behaviors warrant disciplinary action: (a) excessive use of force, (b) denying medical care, and (c)

delaying psychiatric treatment or discipline. See Answer from 4/29/21, ¶ 181 (ECF No. 91).

       231.    No action has been taken by the Department of Corrections to take responsibility

in any way for what happened to Mr. Leonard on July 22, 2017. See Exhibit 8 – Director Keen

Depo., 88:25 to 89:04.

       232.    St. Charles DOC did not even conduct an investigation regarding the events and

use of force that led to Mr. Leonard’s eye injury on July 22, 2017. See Exhibit 8 – Director Keen

Depo., 23:25 to 24:02, 24:12-24, 41:7-8; Answer from 4/29/21, ¶ 191 (ECF No. 91); Exhibit 13 –

Martin Depo., 22:9-13; Exhibit 7 – Baker Depo., 12:10-12; Exhibit 29 – McKee Depo., 022:01 to

022:15.

       233.    Defendant Harris was never interviewed in conjunction with any investigation into

the use of force on Mr. Leonard on July 22, 2017. See Exhibit 25b – Harris Depo., 2/5/20, 68:11

to 69:15.

       234.    Lieutenant McKee simply determined that an investigation should not have even

been conducted regarding Mr. Leonard. See Exhibit 29 – McKee Depo., 22:01 to 22:15.

       235.    An investigation should have been conducted into how the incident with Plaintiff

occurred and why. See Exhibit 8 - Director Keen Depo., 40:11-18.

       236.    The current Director of Corrections, Director Daniel Keen (hereinafter, “Director

Keen”), would have generated an investigation into the situation turning it over to the internal

affairs officer in order to immediately question the individuals involved including their motives.

See Exhibit 8 – Director Keen Depo., 40:14-18, 63:6-8.




                                                34
       237.    Director Keen would have investigated if Defendant Harris and Defendant Fisher

were taking revenge against Plaintiff due to Plaintiff’s conduct the evening of July 22, 2017. See

Exhibit 8 – Director Keen Depo., 73:25 to 74:6.

       238.    Defendant Baker’s report was not critical of any of the officer’s actions and found

the use of force appropriate. See Exhibit 19 – Defendants’ Bates 265.

       239.    Lieutenant McKee stated on the Use of Force Review that “Staff’s use of pepper

spray was appropriate to situation.” See Exhibit 19 – Defendants’ Bates 265.

       240.    Captain Vincent Vaughn (hereinafter “Captain Vaughn”) stated on the Use of Force

Review, “I concur with both Sgt. Baker and Lt. McKee.” See Exhibit 19 – Defendants’ Bates 265.

       241.    The officer’s actions against Mr. Leonard were ratified by each level of authority

in the St. Charles DOC. See Exhibit 6 – Katsaris Report, p. 12; Exhibit 11 – Lawrence Depo.,

99:25 to 100:02; Exhibit 8 – Director Keen Depo., 64:1-23.

       242.    Assistant Director for the Department of Corrections, Debbie Echele, even

commended the actions of the officers immediately after the incident with Mr. Leonard by sending

an email that stated, “A huge “THANK YOU!” for your response and assistance with inmate

Leonard on 7/22/17….the teamwork displayed was great to see. Everyone did an exceptional job.”

The email ended by saying, “Again, thank you for a job well done!” See Exhibit 12 – Echele Depo.,

98:12 to 98:15; Exhibit 36 – Defendants’ Bates 415.

       243.    Despite Mr. Leonard losing his eye in 2017, the St. Charles DOC and its directors

believed the use of force on Mr. Leonard was entirely appropriate and thought that its employees

did a “great job” in handling Mr. Leonard that day, and would not do anything differently today.

See Answer from 5/29/20 and 6/1/20, ¶ 58 (ECF No. 54 and 55).




                                               35
       244.    Captain Vaughn, Suicide Prevention Coordinator Coleman, and Lieutenant McKee

believed actions against Mr. Leonard were a justified use of force. See Exhibit 8 – Director Keen

Depo., 24:04-11.

       245.    The St. Charles DOC did not counsel or discipline any employee and there were no

negative consequences as a result of the events that lead to Mr. Leonard’s eye injury on July 22,

2017. See Exhibit 25a – Harris Depo., 8/23/19, 30:13-15; Exhibit 25b – Harris Depo., 2/5/20,

94:10 to 95:1; Exhibit 7 – Baker Depo., 56:9-11; Answer from 4/29/21, ¶ 192 (ECF No. 91).

       246.    The lack of discipline ratifies the use of disproportionate unjustified and against

policy force and the failure to intervene in the serious self-harm actions of Mr. Leonard while

officers watched. See Exhibit 6 – Katsaris Report, p. 15; Exhibit 8 – Director Keen Depo., 64:1-

23.

       247.    To allow Mr. Leonard to harm himself without drastic discipline imposed on

officers is a total disregard of the correctional mission, especially as Mr. Leonard was in the suicide

prevention unit. See Exhibit 6 – Katsaris Report, p. 15; Exhibit 8 – Director Keen Depo., 64:1-23.

       248.    As the St. Charles DOC did not find that policy or procedures were violated in

relation to actions taken against Mr. Leonard in July 2017, the actions were ratified by the St.

Charles DOC. See Exhibit 6 – Katsaris Report, p. 15; Exhibit 8 – Director Keen Depo., 64:1-23.

       249.    The St. Charles DOC does not have any written policies regarding the auditing of

nurses or other staff on Medical. See Exhibit 12 – Echele Depo., 21:06 to 24:17.

       250.    During the time that Mr. Leonard was an inmate, Medical did not even have to fill

out an incident report. See Exhibit 12 – Echele Depo., 21:06 to 25:01.




                                                  36
       251.    Since the time that Mr. Leonard was an inmate, the St. Charles DOC has a new

policy and form requiring nurses to document a serious injury with an incident report. See Exhibit

12 – Echele Depo., 21:06 to 25:01, 26:17 to 27:14.

       252.    Even though the St. Charles DOC required officers to notify medical staff before

the use of force for a planned event, it was never a practice until after Mr. Leonard was an inmate.

See Exhibit 12 – Echele Depo., 27:20 to 32:13.

       253.    During the time that Mr. Leonard was an inmate, the St. Charles DOC did not have

internal affairs review any use of force actions or complaints. See Exhibit 31 – Vaughn Depo.,

22:16 to 23:05.

       254.    The St. Charles DOC does not have any written policy and procedures on

conducting internal investigations. See Exhibit 29 – McKee Depo., 16:13 to 17:04

       255.    The St. Charles DOC does not know how officers are monitored to ensure

compliance with the use of pepper spray. See Exhibit 30 – Spiess Depo., 22:08 to 22:24.

       256.    Best correctional practices include investigating use of force incidents in order for

officers to learn from potential mistakes or potential policy violations ensuring staff are properly

trained and policies are changed. See Exhibit 8 – Director Keen Depo., 61:14-21.

       257.    Defendant Harris has had prior disciplinary actions, including disciplinary actions

for violations of the use of force policy as well as another inappropriate pepper spray incident in

2020. See Exhibit 31 – Vaughn Depo., 54:04 to 55:05; Exhibit 34.

       258.    Lieutenant McKee has stated that there have been two or three other incidents

where he investigated a case where an inmate had been inappropriately pepper sprayed. See Exhibit

29 – McKee Depo., 19:17 to 20:03.




                                                 37
       259.    In fact, the St. Charles DOC has had at least 16 incidents of excessive force and

inadequate medical care since 2016. See Exhibit 37 - Defendants' Bates 1506-1515, 1413-1417,

1377, 1422, 1419, 1408, 1534-1544, 1458, 1418, 1497-1505, 1411-1412, 1516-1533, 1358-1376,

1421, 1378, 1420.

       260.    Since the time that Mr. Leonard was an inmate, two changes in St. Charles DOC’s

policies could have changed what happened with Mr. Leonard. See Exhibit 12 – Echele Depo.,

35:16 to 36:03.

       261.    Since the time that Mr. Leonard was an inmate, there is now a written CERT team

policy. See Exhibit 12 – Echele Depo., 47:18 to 48:07.

       262.    Since the time that Mr. Leonard was an inmate, officers focus more on planned use

of force and communication with medical. See Exhibit 12 – Echele Depo., 071:19 to 076:02.

VII.   POLICY AND TRAINING DEFICIENCIES

       263.    A “planned use of force” standard had already been implemented in the corrections

industry for decades prior to the incident that is the subject of this lawsuit. See Answer from

4/29/21, ¶ 89 (ECF No. 91)

       264.    In July 2017, the St. Charles DOC did not have a formal, written “planned use of

force policy” in place nor did it have any policy that provides guidance or discusses planned use

of force. See Exhibit 14 – Rogers Depo., 28:09 to 32:08; Answer from 4/29/21, ¶ 91 (ECF No.

91).

       265.    The St. Charles DOC “use of force” policy is the only document used to determine

if the use of force used on an inmate is appropriate, and this policy does not even mention or use

the term “planned use of force.” See Exhibit 27 – Defendants’ Bates 1226-1229; Exhibit 8 –

Director Keen Depo., 80:24 to 81:01; Exhibit 29 – McKee Depo., 20:19 to 21:08.



                                               38
       266.    The St. Charles DOC claims to review the use of force policy annually but it has

not been updated since 2014. See Exhibit 27 – Defendants’ Bates 1226-1229; Exhibit 14 – Rogers

Depo., 15:09 to 15:13; Exhibit 30 – Spiess Depo., 16:14 to 17:11.

       267.    Policies and training involving use of force should be consistent in order to prevent

confusion as to what type of force to use, how to use a specific type of force, or what to do and for

inmate safety. See Exhibit 17 – Garofalo Depo., 40:21 to 41:4-6, 51:16-18; Exhibit 30 – Spiess

Depo., 17:15 to 18:11, 19:22 to 20:08.

       268.    If there are practices but not written policies, the St. Charles DOC is not sure how

that practice is complied with day to day. See Exhibit 12 – Echele Depo., 79:09 to 82:03.

       269.    Some St. Charles DOC officers would follow their training and some St. Charles

DOC officers would follow the policy if the policy and the training are inconsistent. See Exhibit

17 – Garofalo Depo., 41:14-21.

       270.    It is a “fair assumption” that there was “obviously” a “problem with adhering [to]

policy before Director Keen took over as Director of Defendant. See Exhibit 8 – Director Keen

Depo., 71:24 to 72:2.

       271.    If the standards were complied with at the time that Plaintiff was confined in July

2017, “[m]ore likely than not, this [harm to Plaintiff’s eye] would have been avoided.” See Exhibit

8 – Director Keen Depo., 43:1-20.

       272.    When he became Director of Defendant, Director Keen had to “get back to policies”

and train all officers on the “appropriateness of the use of force”, including Suicide Prevention

Officer Donte Fisher (hereinafter, “Fisher”) and Officer Steven Harris (hereinafter, “Harris”). See

See Exhibit 8 – Director Keen Depo., 71:17-21.




                                                 39
         273.   For example, since Director Keen began his tenure on May 23, 2018 as the “head”

or “top officer” of the St. Charles County DOC, he had to make changes to get Defendant “in line

to make sure we’re following what a planned use of force is and we’re making sure we’re calling

[Defendant’s] medical department prior to any use of force.” See Exhibit 8 – Director Keen Depo.,

22:23-25, 44:5-9, 45:1-6.

         274.   Defendant now has medical approve a pepper spray use of force such as the one

that was inflicted upon Mr. Leonard in advance and has medical staff present for such a use of

force. See Exhibit 8 – Director Keen Depo., 79:19 to 80:3.

         275.   Defendant now has medical and mental health providers counsel an inmate in the

Suicide Prevention Unit prior to a use of force. See Exhibit 8 – Director Keen Depo., 44:8-22.

         276.   Since the events with Mr. Leonard, the lesson plan related to use of force has been

updated to ensure that it covers everything in the policy. See Exhibit 14 – Rogers Depo., 16:18 to

18:23.

         277.   The St. Charles DOC instructs that there is no medical condition that should

disqualify an inmate from the use of pepper spray. See Exhibit 30 – Spiess Depo., 26:08 to 30:19.

         278.   The St. Charles DOC instructs that anyone could be pepper sprayed because pepper

spray is a naturally occurring substance and there have not been any cases where medical

conditions would prevent the use of pepper spray. See Exhibit 30 – Spiess Depo., 26:08 to 30:19.

         279.   The St. Charles DOC does not instruct anything about the potential harm caused by

pepper spray on an individual with medical conditions. See Exhibit 30 – Spiess Depo., 26:08 to

30:19.

         280.   The St. Charles DOC instructs to check for medical conditions only after

deployment. See Exhibit 32 – Defendants’ Bates 354.



                                                40
       281.    It is understood at the correctional officer level that using pepper spray on an inmate

who has a medical condition clearly could possibly harm the inmate. See Exhibit 17 – Garofalo

Depo., 50:2-11.

       282.    The current pepper spray policy is unclear as to when Medical needs to be consulted

and how to contact Medical prior to using pepper spray. See Exhibit 8 – Director Keen Depo.,

82:9-12; Exhibit 14 – Rogers Depo., 28:09 to 32:08.

       283.    Current policy states the shift supervisor is supposed to contact Medical to inquire

of health conditions of the inmate. See Exhibit 8 – Director Keen Depo., 82:5-8.

       284.    In July 2017, the St. Charles DOC required the jail’s staff supervisor to contact

medical staff to determine if an inmate had conditions that would be adverse to the use of pepper

spray “[i]f the situation allows.” See Answer from 4/29/21, ¶ 85 (ECF No. 91); Exhibit 28 –

Defendants’ Bates 28.

       285.    The statement “if the situation allows” in the current pepper spray policy makes the

policy deficient and subject to subjective decision making. See Exhibit 6 – Katsaris Report, p. 12;

Exhibit 8 – Director Keen Depo., 64:1-23.

       286.    The statement “if the situation allows” gives authority without supervisory

authorization, which is not the recognized, trained, and accepted procedure in detention facilities

for a planned use of force. See Exhibit 6 – Katsaris Report, p. 12; Exhibit 8 – Director Keen Depo.,

64:1-23.

       287.    Due to a lack of training and unclear policies by St. Charles DOC, the St. Charles

DOC’s suicide prevention officers did not know what “[i]f the situation allows” meant in July

2017. See Exhibit 6 – Katsaris Report, p. 12; Exhibit 8 – Director Keen Depo., 64:1-23.




                                                 41
          288.   Furthermore, the “if the situation allows” policy language has not changed since

2017; it was simply not enforced by Director Crawford, but was enforced when Director Keen

took over as Director in May 23, 2018. Exhibit 12 – Echele Depo., 48:13-25; Exhibit 8 – Director

Keen Depo., 23:1-6, 44:1-14.

          289.   No changes have been made to the use of force and pepper spray policies in the St.

Charles County DOC because of Covid. See Exhibit 8 – Director Keen Depo., 45:10-15; 47:2-8;

89:5-7.

          290.   Director Keen claims that he is planning to change the pepper spray policy to state

that any subject has to be cleared prior to a planned use of pepper spray. See Exhibit 8 – Director

Keen Depo., 82:15-17.

          291.   The St. Charles DOC does not know why its policy disqualifies inmates with certain

medical conditions from the use of pepper spray. See Exhibit 14 – Rogers Depo., 24:13 to 27:06;

Exhibit 30 – Spiess Depo., 026:08 to 30:19.

          292.   The St. Charles DOC does not know why there is a difference in its training manuals

and policy regarding the types of conditions to disqualify an inmate from pepper spray. See Exhibit

14 – Rogers Depo., 24:13 to 30:19.

          293.   Due to a lack of training and inconsistent policies by St. Charles DOC, the St.

Charles DOC’s suicide prevention officers did not know when to use pepper spray. See Answer

from 4/29/21, ¶ 87 (ECF No. 91).

          294.   As an example of the disconnect between training materials and policies, Officer

Garofalo believed that the St. Charles DOC’s training materials permit pregnant inmates to be

sprayed even though St. Charles DOC’s official training materials prohibit such conduct. See




                                                 42
Exhibit 17 – Garofalo Depo., 51:10-12; Exhibit 14 – Rogers Depo., 26:05 to 26:08; Exhibit 32 –

Defendants’ Bates 302.

       295.   The St. Charles DOC’s pepper spray trainers and written policies instruct that a

pregnant woman can be pepper sprayed. See Exhibit 14 – Rogers Depo., 026:05 – 26:08; Exhibit

30 – Spiess Depo., 26:08 to 30:19.

       296.   As another example of the disconnect, as of July 22, 2017, Katie Garofalo had not

been taught that inmates could suffer harm from pepper spray use as a result of pre-existing eye

conditions. See Exhibit 17 – Garofalo Depo., 50:14-17.

       297.   The St. Charles DOC policy allows for an inmate with a serious eye condition, no

matter how severe, to be sprayed with pepper spray. See Exhibit 30 – Spiess Depo., 26:08 to

30:19; Exhibit 12 – Echele Depo., 61:01 to 62:01.

       298.   The St. Charles DOC also claims it does not know if an inmate should be sprayed

with pepper spray in the eyes if an inmate has a serious eye condition. See Exhibit 14 – Rogers

Depo., 27:12 to 28:06.

       299.   As another example of the disconnect, the St. Charles DOC policy states that pepper

spray shall be used at a distance between 3 – 15 feet. See Exhibit 14 – Rogers Depo., 22:10 to

24:04; Exhibit 32 – Defendants’ Bates 320.

       300.   The St. Charles DOC policy states that pepper spray shall be used at a distance of

not to exceed six feet with a minimum distance of four feet. See Exhibit 14 – Rogers Depo., 20:11

to 21:19, Exhibit 28 – Defendants’ Bates 28; Exhibit 6 – Katsaris Report, p. 11; Exhibit 8 –

Director Keen Depo., 64:1-23.

       301.   The distances in the pepper spray policy are different from the distances in the

pepper spray training materials, and the St. Charles DOC does not know why there is a difference



                                               43
in distances between its training materials and its policy. See Exhibit 17 – Garofalo Depo., 38:25

to 39:3, 47:15-19, 47:23 to 48:21; Exhibit 14 – Rogers Depo., 23:8-10; Exhibit 30 – Spiess Depo.,

23:20 to 025:05.

         302.   Having different distances at which pepper spray may be used in St. Charles’ policy

and St. Charles’ training materials could lead to confusion or improper use. See Exhibit 17 –

Garofalo Depo., 48:25 to 49:5.

         303.   Using pepper spray at a distance of less than three feet can be harmful and cause

the hydraulic needle effect, splash back, weapon retention, and needlepointing, which is essentially

tattooing an inmate with the pepper spray. See Exhibit 24a – Fisher Depo., 8/23/19, 8:23 to 9:3,

13:1-13; Exhibit 32 – Defendants’ Bates 362; Exhibit 25a – Harris Depo., 8/23/19, 46:19-20;

Exhibit 30 – Spiess Depo., 25:10 to 25:25.

         304.   Yet, the St. Charles DOC also stated that it does not believe an inmate would be

harmed if an inmate were shot with pepper spray closer than the minimum distance and has stated

that if pepper spray was utilized one inch away from the eyeball of an inmate, there would be no

harm at all to the inmate. See Exhibit 14 – Rogers Depo., 20:11 to 21:19.

         305.   As of February 26, 2020, the St. Charles DOC does not have any policy, including

use of force policy, that is focused on inmates with mental health issues. See Exhibit 30 – Spiess

Depo., 13:13 to 13:16; 14:10 to 14:12.

         306.   If someone threatens self-harm, whether psychotic or not, the St. Charles DOC does

not disqualify that inmate from being tased or pepper sprayed, even though that might make a

suicidal inmate want to hurt himself or herself more. See Exhibit 12 – Echele Depo., 85:01 to

85:25.




                                                44
       307.    The St. Charles DOC allows for an inmate having psychotic episodes to be pepper

sprayed. See Exhibit 12 – Echele Depo., 61:01 to 62:01.

       308.    The St. Charles DOC does not have any use of force training or pepper spray

training regarding inmates with mental health issues or who are in the suicide prevention unit. See

Exhibit 30 – Spiess Depo., 16:14 to 17:11; Exhibit 17 – Garofalo Depo., 44:23-25; 45:1-2.

       309.    The National Commission on Correctional Health Care (“NCCHC”) sets nationally

accepted standards of care for patients in jails and prisons. See Exhibit 12 – Echele Depo., 15:1-7;

Exhibit 23 – Lawrence Report, p. 24.

       310.    Debbie Echele’s emphasized the importance of following such standards and trains

her nurses and medical people to abide by the NCCHC standards. See Exhibit 12 – Echele Depo.,

15:6-13.

       311.    The 2015 NCCHC Standards for Mental Health Services in Correctional Facilities

that Debbie Echele reviewed in preparation for her deposition on behalf of the St. Charles DOC

has three compliance indicators, none of which the facility complied with. See Exhibit 11 –

Lawrence Depo., 56:17-23.

       312.    According to the NCCHC’s 2015 publication, “Standards for Mental Health

Services in Correctional Facilities,” (hereinafter, “NCCHC”) essential compliance indicator MH-

E-06 (“Emergency Services”) states, “Mental health emergencies are appropriately managed.”

Compliance indicators include: 1) responsible mental health authority arranges for emergency

mental health care 24 hours/day, 7 days/week; 2) A system is in place to facilitate access to patient

mental health information in the event of mental health emergencies by designated staff when no

mental health staff are on site; and 3) All aspects of the standard are addressed by written policy

and defined procedures. See NCCHC, p. 85 and Exhibit 23 – Lawrence Report, pp. 24-25.



                                                 45
         313.   The standard in the corrections industry is to have an on-call mental health

professional 24/7. See NCCHC, p. 85; Exhibit 11 – Lawrence Depo., 56:14-16.

         314.   The St. Charles DOC had no policy as to emergency psychiatric care at the time, as

confirmed by Debbie Echele, and there was no psychiatrist hired to be on call more than two days

per week. See Exhibit 12 – Echele Depo., 75:1 to 76; Exhibit 11 – Lawrence Depo., 55:23 to 56:13;

Exhibit 8 – Keen Depo., 66:18 to 68:03.

         315.   Most of the St. Charles DOC’s medical practices and procedures are not written.

See Exhibit 12 – Echele Depo., 13:7-10 and 17:11.

         316.   The St. Charles DOC does not have a written policy about providing medical care

to inmates. See Exhibit 12 – Echele Depo., 77:22 to 79:07.

         317.   By not having written policy and defined procedures for mental health emergencies,

the St. Charles DOC does not comply with the 2015 NCCHC Standards for Mental Health Services

in Correctional Facilities. See Exhibit 16 – NCCHC, p. 85; Exhibit 11 – Lawrence Depo., 56:20 to

57:07.

         318.   According to the NCCHC’s 2015 publication, “Standards for Mental Health

Services in Correctional Facilities,” essential compliance indicator MH-D-02 (“Medication

Services”) states, “Medication services are clinically appropriate and provided in a timely, safe,

and sufficient manner.” See Exhibit 16 – NCCHC, p. 62.

         319.   The NCCHC’s 2015 publication further explains “Inmates entering the facility on

verifiable prescription medication continue to receive the medication in a timely fashion as

prescribed, or acceptable alternate medications are provided as clinically indicated. See Exhibit 16

– NCCHC, p. 62.




                                                46
         320.   Regarding medications that cannot be verified, the NCCHC states, “Inmates

entering the facility with a prescription that cannot be verified should be evaluated by facility

health staff or mental health staff for the appropriateness of the prescription medication.” See

Exhibit 16 – NCCHC, p. 62.

         321.   The NCCHC states in regard to medication services, “All aspects of the standard

are addressed by written policy and defined procedures. See Exhibit 16 – NCCHC, p. 62.

         322.   The St. Charles DOC does not know if it has a policy to obtain medical information

from where the inmate was transferred from. See Exhibit 14 – Rogers Depo., 28:09 to 32:08.

         323.   The St. Charles DOC does not have a written policy about how Medical can or

should convey necessary information to corrections officers or SPO’s that are guarding,

supervising and monitoring the inmates. See Exhibit 12 – Echele Depo., 79:09 to 82:03.

         324.   The St. Charles DOC only follows guidelines from NCCHC on suicide prevention,

medical emergency, taking someone to the hospital, and emergency medicine. See Exhibit 12 –

Echele Depo., 91:13 to 91:19.

         325.   The St. Charles DOC was deliberately indifferent when it failed to develop

appropriate policies and provide clear training to custody staff as to their duty to intervene

immediately to protect an inmate from self-harm. See Exhibit 11 – Lawrence Depo., 82:20 to

83:02.

         326.   The St. Charles DOC policy should require adequate custody staff in the suicide

prevention unit to allow for custody staff to immediately intervene. See Exhibit 11 – Lawrence

Depo., 83:06-12, 83:22 to 84:02.




                                                47
       327.    The St. Charles DOC policy should state that staff are required to go into a cell of

someone who could potentially cause harm to others as well as themselves immediately. See

Exhibit 11 – Lawrence Depo., 83:15-18.

       328.    The St. Charles DOC does not know if it has a policy that describes how to actually

monitor an inmate on close observation. See Exhibit 14 – Rogers Depo., 36:11 to 36:25.

       329.    According to the St. Charles DOC’s policy, the only difference as to whether an

inmate is categorized under “close observation” or “constant observation” is if the inmate has

actually made a suicide attempt. See Exhibit 14 – Rogers Depo., 38:07 to 40:18.

       330.    During “constant observation”, the officer assigned to monitor the inmate is

required to maintain direct site of an inmate and watch them constantly. See Exhibit 14 – Rogers

Depo., 38:07 to 40:18.

VIII. SELECTED EXPERT FINDINGS

       331.    Mr. Leonard produced the following experts in this case for the purpose of

demonstrating liability: (1) W. Ken Katsaris, an accomplished law enforcement, corrections and

security consultant and trainer who primarily testifies for the defense, and (2) Susan Lawrence,

MD, a medical physician with significant correctional facility experience. See Exhibit 38 – Expert

Disclosures; Exhibit 22 – Katsaris Depo., 18:7-21; Exhibit 6 – Katsaris Report; Exhibit 23 –

Lawrence Report.

       332.    Defendant then named Director Keen as its “non-retained” expert in response to

Mr. Katsaris and Dr. Lawrence. See Exhibit 38 – Expert Disclosures.

       333.    Director Keen agreed with Ken Katsaris’ Expert Report, which includes the below

selected findings. See Exhibit 8 – Director Keen Depo., 8:3, 5-6; 64:1-24; 65:6-19.




                                                48
       334.    “This file of materials is very representative of serious deviations of below

recognized, trained, and accepted detention facility practices.” Exhibit 6 – Katsaris Report, p. 8.

       335.    “These practices were not accidental or simple mistakes, but rather deviations from

clear policy statements, below acceptable training for implementation of policy, and clearly

deviations below the recognized, trained, and accepted practices for providing the proper care,

custody and control of prisoners.” See Exhibit 6 – Katsaris Report, p. 8.

       336.    “[T]he corrections officers of the St. Charles County Department of Corrections

(SCCDOC) involved with Plaintiff Jamie Leonard (Leonard) did not follow the SCCDOC Policies

and Procedures, and that the policies of the SCCDOC were deficient in clarity and specific

guidance.” See Exhibit 6 – Katsaris Report, p. 8.

       337.    “These deviations, in addition to a clear lack of training, were the direct cause of

Leonard’s injuries.” See Exhibit 6 – Katsaris Report, p. 8.

       338.    “[T]his deviation was followed by the inconceivable omission of the officers[’]

failure to intervene, as Leonard gouged out his own eye.” See Exhibit 6 – Katsaris Report, p. 9.

       339.    “The irritation and contamination by the OC Restraint Spray was not properly

addressed by the officers or medical staff.” See Exhibit 6 – Katsaris Report, p. 9.

       340.    “The eye injury from the use of OC Restraint Spray, and the subsequent gouging

out of Leonard’s eye was preventable.” See Exhibit 6 – Katsaris Report, p. 9.

       341.    “I have sufficient experience to know what the recognized and accepted interface

procedures are, and should be, between the medical staff, and the corrections staff, to opine on the

communications procedures required for the constitutional implementation of care, custody, and

control of prisoners in a detention center, and that was a failure in this case.” See Exhibit 6 –

Katsaris Report, p. 9.



                                                 49
       342.    “After carefully reviewing the Second Amended Complaint filed in this case, I fully

agree with the entirety of the assertions by the Plaintiff[’]s attorneys of record on this file. After a

review of paragraphs nine (9) through one hundred twenty five (125), I find it compelling to

incorporate these factual assertions as part of this report and my opinions. While somewhat

duplicative at times, the assertions of fact are consistent with the materials I reviewed in

Attachment "A", are accurate and supported by records, and testimony.” See Exhibit 6 – Katsaris

Report, p. 9-10.

       343.    “Prior to the beginning of the cell search and use of OC Chemical Restraint Spray

on Leonard, I can find no excuse for not involving a medical staff person since a cell search was

not an emergency.” See Exhibit 6 – Katsaris Report, p. 11.

       344.    “The use of force against Leonard as a result of attempting to perform a cell search,

did not comport with the SCCDOC policy nor the generally recognized, trained, and accepted

procedures on the use of OC Chemical Restraint. The level of resistance required nationally and

by SCCDOC Policy is "active aggression." My review of the cell video does not indicate this

required level of resistance by Leonard. He was not cooperative, but not combative or attempting

to harm the officers. And, there were three officers to control a handcuffed-behind-the-back

Leonard. Not only was the entry into the cell for a cell search not appropriate, but the use of OC

Spray was not justified by Leonard’s level of resistance. Nor was Leonard a "serious physical

threat."” See Exhibit 6 – Katsaris Report, p. 11.

       345.    “Furthermore, the SCCDOC Policy prohibits OC Spray to be deployed closer than

four (4) feet. My view of the cell video shows the application began at about 12-18 inches from

Leonard’s face. The SCCDOC training clearly indicates the potential of eye injury if applied closer




                                                    50
than three (3) feet. And, in this case, Leonard already suffered from an eye disease which totally

contraindicated the use of OC Spray.” See Exhibit 6 – Katsaris Report, p. 11-12.

       346.    “Baker testified that if she was contacted, she would have consulted medical before

authorizing the use of OC Spray. But, even knowing this compromise of policy, as the reviewing

authority, Baker was required to write a report on the incident in which Baker was not critical of

any of the officer’s actions, and found the use of force appropriate as their conduct was also ratified

by each higher level of authority in the SCCDOC.” See Exhibit 6 – Katsaris Report, p. 12.

       347.    “Either Baker did not know, or was not trained appropriately, on the policy, or the

confusing statement in the policy "if the situation allows," did not provide the guidance necessary

for use of OC Spray. I believe this statement makes the policy deficient and subject to subjective

decision making. The statement actually gives authority without supervisory authorization, which

is not the recognized, trained, and accepted procedure in detention facilities for a planned use of

force.” See Exhibit 6 – Katsaris Report, p. 12.

       348.    “It is also recognized by SCCDOC Procedures, as testified to by officers that any

"planned use of force" must be authorized by a supervisor. It is my opinion that the meeting

(briefing) prior to attempting Leonard’s cell search, participated in by Corrections Officers Donte

Fisher (Fisher), Steven Harris (Harris), and Scott, directed by Fisher, met the requirements of a

"planned" use of force. Fisher alerted Harris and Scott about the bizarre behavior of Leonard during

the night, and as a result had sufficient belief to tell Harris to be ready to use the OC Chemical

Restraint Spray. There is no other way to define this assessment by Fisher other than a "plan" to

use force. Therefore, the need for supervisory approval was necessary, but not sought or even

thought about. This is significant because it accrues to my opinion of the deficient policy, and




                                                  51
deficient training on the use of force requirements by SCCDOC as well as the recognized, trained

and accepted procedures throughout the nation.” See Exhibit 6 – Katsaris Report, p. 12-13.

       349.    “The use of OC Spray was not only contraindicated for the reasons in my opinions

above, but the use of the OC Spray was totally not called for by Leonard’s resistance. The spray

was also inappropriately deployed. For all of the reasons cited, the use of the OC Spray exceeded

the test of the actions of the prudent officer assessing the need for a control agent reserved, by

policy, for "inmates who pose a serious physical threat to staff or inmates." Leonard did not attempt

to "hit, kick, spit, swing, or throw objects that could potentially harm or injure anyone within

striking distance" (Policy, Use of OC Spray, SCCDOC, and ACA Standards cited in the Policy).

It is my opinion that the force used on Leonard exceeded the force authorized by policy and

nationally accepted practices.” See Exhibit 6 – Katsaris Report, p. 13.

       350.    “A further violation of SCCDOC Policy occurred when Martin did not supervise

the decontamination process, and Fisher, Harris, and Scott simply moved Leonard to another cell,

took off his handcuffs, and directed him to use the sink in the cell to decontaminate himself of the

OC Spray that was directed at his eyes, and from a very close injurious distance. The use of the

cell sink, not an "eye wash station," as directed in policy, began the painful process of Leonard

gouging at his eyes, in obvious frustration and pain, as can be seen, and verified, by the cell video.

Again, a violation of the OC Spray Policy. And, in addition, the violation of medical directions of

SCCDOC for Martin who was required to provide medical assistance for decontamination.” See

Exhibit 6 – Katsaris Report, p. 13.

       351.    “Each and every one of the actions by Fisher, and Harris, to plan and deploy an

unauthorized use of force, vis-a-vis the deployment of OC Spray - combined with the lack of

proper medical intervention, and the lack of the use of an eye wash station - was an escalating



                                                 52
causation toward the final injurious actions taken by Leonard against himself, without intervention,

which resulted in the loss of one of his eyes.” See Exhibit 6 – Katsaris Report, p. 14.

       352.    “While Leonard did gouge his own eye out, he did so while officers simply watched

Leonard’s agony and pain, which is so abundantly clear from the cell video. While the officers

watched Leonard gouging at his eye, they did call medical, and Martin did rush back to the cell.

The officers[’] lack of proper intervention to Leonard’s actions is totally unjustified. As I earlier

opined, Leonard should have been assisted with decontamination, and an "eye wash station,"

utilized with medical assistance. Neither was afforded to Leonard. Martin testified that when she

arrived at Leonard’s second cell, after the OC Spray use, four to five officers were in the hall

outside of the cell. She testified no one, in her opinion, tried to stop Leonard. However, it is not

necessary to rely on Martin’s opinion, the cell video confirms that Leonard fell to the floor, turned

over, was gouging at his eye, and blood was visible on the floor. No officer made an entry from

the time Leonard was standing at the sink, to turning and gouging, to falling, rolling, and bleeding.

This failure of intervention is the most egregious failure to intervene in a medical/physical crisis,

in a detention center, that I have ever reviewed or seen. It was obvious Leonard needed to be

helped, and stopped from self-injury. I can only compare this lack of intervention to the possible

scenario where an inmate, on suicide watch, is watched and monitored by corrections officers

while he/she ties a noose, puts it around their neck, and attempts suicide by hanging before the

officers intervene. Obviously, that is a comparable scenario, in my opinion. Officers would, and

should, be terminated for that kind of omission. There was not even discipline for the officers in

Leonard’s case.” See Exhibit 6 – Katsaris Report, p. 14-15. (emphasis added).

       353.    “The lack of discipline, or even finding any violations of policy, is simply

ratification of the use of disproportionate unjustified, and against policy force, and failing to



                                                 53
      intervene in a serious injurious compromise Leonard was doing to himself while an officer(s)

      watched. And, he was classified as a "special watch" inmate, and in a cell in the "special

      observation unit." It is incredible that the circumstances of the OC Spray without authorization

      even occurred. I find it is a total disregard of the correctional mission, especially for the unit

      Leonard was in, to just let him harm himself without drastic discipline imposed on the officers. In

      this case the SCCDOC didn’t even find that policy or procedures were violated. This is proof of

      "ratification," in my opinion.” See Exhibit 6 – Katsaris Report, p. 15.




       Date: April 30, 2021                                    Respectfully submitted by,

       DONNER APPLEWHITE,
       ATTORNEYS AT LAW                                         BURGER LAW, LLC

By:    /s/ Steven A. Donner                                By: /s/ Gary K. Burger
       Steven A. Donner, #63789MO                              Gary K. Burger, #32460MO
       Thomas R. Applewhite, #64437MO                          500 N. Broadway, Suite 1860
       906 Olive Street, Suite 1110                            St. Louis, Missouri 63102
       St. Louis, Missouri 63101                               Phone: (314) 542-2222
       Phone: (314) 293-3526                                   Fax:     (314) 542-2229
       Fax:      (888) 785-4461                                Email: gary@burgerlaw.com
       Email: tom.applewhite@da-lawfirm.com
                 steve.donner@da-lawfirm.com                    Co-Counsel for Plaintiff

       Co-Counsel for Plaintiff



                                       CERTIFICATE OF SERVICE

             I hereby certify that on April 30, 2021, the foregoing was filed utilizing this Court’s ECF
      system, which will distribute an electronic version of the foregoing to all counsel of record.

                                                    /s/ Steven A. Donner                         .




                                                      54
